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AO 91 (Rev. 11/11) Criminal Complaint (Rev. by USAO on 3/12/20)        ‫ ܆‬Original   ‫ ܆‬Duplicate Original

            LODGED
     CLERK, U.S. DISTRICT COURT      UNITED STATES DISTRICT COURT                                          FILED
                                                                                                 CLERK, U.S. DISTRICT COURT



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     5/22/2025                                           for the
                                                                                               CENTRAL DISTRICT OF CALIFORNIA

  CENTRAL DISTRICT OF CALIFORNIA                                                                             ,9
                                                                                                 BY: ___________________ DEPUTY

               MMC
   BY: ____________BB______ DEPUTY          Central District of California

 United States of America

                     v.

 VAHE MARGARYAN,
   aka “William McGrayan,”
 SARKIS SARKISYAN,
   aka “Samuel Shaw,”
 AKSEL MARKARYAN,
   aka “Axel Mark,”
 ASHOT BEJANYAN,
   aka “Alex Benjamin,”
 JACK AYDINIAN,
   aka “Jack Aydi,”
 TARON MUSAYELYAN,
   aka “Teyron Musaleyan,”
                                                                   Case No. 2:25-MJ-03132-DUTY
 HOVANNES HOVANNISYAN,
   aka “John Harvard,”
 MERY BABAYAN,
   aka “Mery Diamondz,”
 ANAHIT SAHAKYAN,
 FELIX PARKER,
 RUDIK YENGIBARYAN,
  aka “Samuel Stavros,”
 YOHAN VACHYAN,
  aka “John Vachyan,”
 KHACHATUR NIKOGHOSYAN, and
 BORIS SAHAKYAN,

                     Defendants.



                                   CRIMINAL COMPLAINT BY TELEPHONE
                                  OR OTHER RELIABLE ELECTRONIC MEANS

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the dates of between May 2, 2019 and January 31, 2025, in the county of Los Angeles in the

Central District of California, and elsewhere, the defendants violated:

AUSAs: Mark Aveis (x4477), Gregg Marmaro (x8500)
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          Code Section                                        Offense Description

          18 U.S.C. § 286                                     Conspiracy to Defraud Government with Respect
                                                              to Claims
          18 U.S.C. § 287                                     False, Fictitious or Fraudulent Claims
          18 U.S.C. § 1343                                    Wire Fraud
          18 U.S.C. § 1344                                    Bank Fraud
          18 U.S.C. § 1956(h)                                 Money Laundering Conspiracy
          18 U.S.C. § 1956(a)(1)                              Laundering of Monetary Instruments
          18 U.S.C. § 1957                                    Engaging in Monetary Transactions in Property
                                                              Derived from Specified Unlawful Activity

        This criminal complaint is based on these facts:

         Please see attached affidavit.

        _ Continued on the attached sheet.


                                                                            /s/ Eric Ley, Special Agent
                                                                             Complainant’s signature

                                                                Eric Ley, Special Agent, Office of Inspector
                                                                General, U.S. Small Business Administration
                                                                              Printed name and title



Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone.

Date:             0D\
                                                                              Judge’s signature

City and state: Los Angeles, California                    Hon. 3DWULFLD'RQDKXH, U.S. Magistrate JudgeBBB
                                                                            Printed name and title




AUSAs: Mark Aveis (x4477), Gregg Marmaro (x8500)
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                                 AFFIDAVIT

      I, Eric Ley, being duly sworn, declare and state as

follows:

                             I. INTRODUCTION

      1.    I have been a federal agent for more than 12 years.

Since May 2021, I have been a Special Agent of the U.S. Small

Business Administration (“SBA”), Office of Inspector General

(“SBA-OIG”).     Before that, I was a Special Agent with the United

States Secret Service for eight years.

      2.    Since graduating from the Criminal Investigator

Training Program conducted at the Federal Law Enforcement

Training Center, I have over ten years of experience

investigating various criminal offenses including bank fraud,

wire fraud, and money laundering.         As such, I have interviewed

hundreds of witnesses and targets, participated in the execution

of numerous search and arrest warrants relating to financial

crimes, and worked with federal prosecutors to prepare

investigations for prosecution.

      3.    For the past four years, I have focused on

investigating crimes associated with pandemic stimulus funding,

sometimes referred to as Covid-19 fraud, and on fraud against

the SBA’s Preferred Lending Program.          From reviewing dozens of

pandemic stimulus loan files and documents associated with those

files, such as subpoenaed bank records and public records, I

have become familiar with the processing and vetting of

applications under the Paycheck Protection and Economic Injury

Disaster Loan programs, among other pandemic-related funding


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programs.    From reviewing numerous and similar loan files and

documents associated with those files, I have also become

familiar with the processing and vetting of applications under

SBA-guaranteed lending programs.

      4.    Through my investigations, my training and experience,

and discussions with other law enforcement personnel, I have

become familiar with the tactics and methods employed by those

who conduct wire and bank fraud schemes using fraudulent loan

statements and fabricated documents, money laundering, and

identity theft, among other federal offenses.            These methods

include, but are not limited to, the use of wireless

communications technology, such as encrypted messaging platforms

such as “WhatsApp;” the creation or purchase of corporate

“shells,” i.e., corporations that have been formed through the

filing of articles of incorporation but conduct no business and

are used solely to create the appearance of legitimacy;

fabricating bank statements or other business documents to

satisfy lender underwriting requirements to qualify for loans;

and moving funds through multiple accounts to promote and

conceal fraud.

                         II. PURPOSE OF AFFIDAVIT

      5.    This affidavit is made in support of a criminal

complaint against, and request for issuance of arrest warrants

for, the following individuals (also referred to individually at

times as “SUBJECT,” or collectively, “SUBJECTS”) for violations

of 18 U.S.C. §§ 286/287 (conspiracy to defraud the government

with respect to claims/make false claims), 1343 (wire fraud),


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1344 (bank fraud), 1956(h) (money laundering conspiracy),

1956(a)(1) et seq. (money laundering), 1957 (engaging in

monetary transactions in property derived from specified

unlawful activity), and/or 31 U.S.C. §§ 5313, 5324

(structuring), as more fully described below:

      VAHE MARGARYAN, AKA WILLIAM MCGRAYAN (“MCGRAYAN”);

      SARKIS SARKISYAN, AKA SAMUEL SHAW (“SHAW”);

      AKSEL MARKARYAN, AKA AXEL MARK (“MARK”);

      ASHOT BEJANYAN, AKA ALEX BENJAMIN (“BENJAMIN”);

      JACK AYDINIAN, AKA JACK AYDI (“AYDI”);

      TARON MUSAYELYAN, AKA TEYRON MUSEYELYAN (“MUSAYELYAN”);

      HOVANNES HOVANNISYAN, AKA JOHN HARVARD (“HARVARD”);

      MERY BABAYAN, AKA MERY DIAMONDZ (“DIAMONDZ”);

      ANAHIT SAHAKYAN (“ANAHIT”);

      FELIX PARKER (“PARKER”);

      RUDIK YENGIBARYAN, AKA SAMUEL STAVROS (“STAVROS”);

      YOHAN VACHYAN, AKA JOHAN VACHYAN, AKA JOHN VACHYAN

      (“VACHYAN”);

      KHACHATUR NIKOGHOSYAN (“NIKOGHOSYAN”); and

      BORIS SAHAKYAN (“BORIS”).

      6.    This affidavit is also made in support of an

application for search warrants for the following:

            a.    The person of MCGRAYAN, as more fully described

in Attachment A-1 (the “SUBJECT PERSON”); and

            b.    6450 Olcott Street, Tujunga, CA 91042-2852

(“SUBJECT PREMISES”), as more fully described in Attachment A-2.




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      7.    As described more fully below, I respectfully submit

there is probable cause to believe the requested search warrants

will yield evidence of violations of 18 U.S.C. §§ 286/287

(conspiracy to commit, and making, false claims to the

government), 1343 (wire fraud), 1344 (bank fraud), 1956(h)

(money laundering conspiracy), 1956(a)(1) et seq. (money

laundering), 1957 (engaging in monetary transactions in property

derived from specified unlawful activity), and/or 31 U.S.C. §§

5313, 5324 (structuring) (collectively, the “SUBJECT OFFENSES”)

that were committed by MCGRAYAN and others, known and unknown.

      8.    The facts set forth in this affidavit are based on my

personal observations; my training and experience; witness

interviews that I have conducted; reports that I have read of

interviews conducted by other law enforcement agents; my review

of documents obtained from third parties, either by way of

subpoena or voluntary submission, such as bank or business

records; my review of publicly-filed documents such as corporate

filings; Internet searches for open source information;

financial analyses or financial records summaries prepared by a

SBA analyst who told me that she reviewed and prepared such

analyses and summaries from bank and other financial records

obtained in this investigation, and whom I believe to be

qualified to make such analyses and summaries from having worked

with her for several years and having reviewed her work product

in other matters; and my review of documents created or amassed

by the SBA in connection with providing funding for the various

loans and grants more fully described below.            Accordingly,



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absent mention below of specific attribution from any of the

above-summarized evidence, I have, solely for clarity, generally

omitted attribution for a specific fact or statement.

      9.    Whenever I refer herein to a bank, I mean a financial

institution whose deposits were insured by the Federal Deposit

Insurance Corporation.       Whenever I refer herein to bank records,

I have done so by identifying each account by an abbreviation

for the bank followed by the account’s last four digits, e.g.,

“JPMC 1234.”     Whenever I refer to the substance or content of

such accounts, such reference is based on my review of the

records of the account(s), including bank statements, signature

card/account application documents, canceled checks, offset and

credits, and other records provided by each bank pursuant to a

grand jury subpoena.       Similarly, unless stated otherwise,

whenever I refer to records of or relating to the SBA, I am

referring to SBA records that I have reviewed as accessible to

me in my capacity as a Special Agent of the SBA-OIG.

      10.     My description of the offense conduct below is based

on my review of the above-summarized evidence and is provided

solely for the purpose of establishing probable cause to believe

that one or more of the above-stated offenses were committed by

the SUBJECTS.     Accordingly, I have not described all of the

evidence that I have reviewed during the course of this

investigation and my omission of evidence or mention of other

subjects or targets of this investigation should be considered

with that limitation.




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       11.    Unless stated otherwise, all conversations and

 statements described in this affidavit are related in substance

 and/or in part only; all dates are “on or about” or

 approximations; all amounts are rounded or close approximations;

 and the words “on or about” and “approximately” are omitted for

 clarity.

       12.    Unless otherwise stated, based on my review of the

 evidence gathered in this case, I believe that all electronic

 communications, e.g., email or online transmission of

 information (e.g., a loan application) and transfers of funds

 between SUBJECTS’ accounts as well as the transmission of

 proceeds of loans or grants were by means of interstate wire

 transmission in furtherance of wire fraud. 1

                        III. SUMMARY OF PROBABLE CAUSE

       13.    I have probable cause to believe that the SUBJECTS

 committed the SUBJECT OFFENSES by creating, purchasing, or using

 corporations for use in name only, i.e., as “shells;” opening or

 directing others to open multiple bank accounts in the names of

 those shells; submitting and directing others to submit

 fraudulent applications, related documents, and fake documents

 to obtain loans; and then laundering and directing others to

 launder the proceeds of those loans through various bank



       1  The following information is provided by the AUSA:
      In August 2022, the statute of limitations for any criminal
 charge alleging that a borrower engaged in fraud with respect to
 PPPs or EIDLs was extended from five to ten years. 15 U.S.C.
 § 636(b)(16).

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 accounts for personal use, for a total loss of more than

 $20,000,000.

       14.    Evidence obtained in this case shows, as more fully

 described below, that SUBJECTS, acting at MCGRAYAN’s direction,

 posed as “owners” of shells; opened shell accounts by providing

 their genuine identification and signing account-opening

 documents; signed documents associated with obtaining bank and

 pandemic stimulus loans; participated in filing tax returns that

 were plainly fraudulent; and received, as fees for

 participating, cash or transfers from shell accounts or other

 sources, and that they did so knowingly and with the intent to

 defraud and launder money.          I therefore have probable cause to

 believe, as more fully described below, that such SUBJECTS

 knowingly participated in the below-described fraudulent scheme

 and laundered money to further it.             Accordingly, arrest warrants

 are sought against such SUBJECTS as MCGRAYAN’s co-schemers

 and/or co-conspirators.

       15.    Some of the fraudulently obtained loans were funded

 by more than $1 trillion in taxpayer-based, Congressional

 appropriations to get the country through the Covid-19 pandemic.

 Other loans were made by banks under an SBA-guaranteed program

 to provide individuals or small businesses the opportunity to

 borrow money to buy or obtain working capital for small

 businesses where such individuals or small businesses might not

 otherwise have access to capital.

       16.    More specifically, the offense conduct involved the

 following:



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             a.     MCGRAYAN and others, known and unknown, met

 individuals who, with few exceptions, were older and of Armenian

 or South Caucasus regional descent, at social or spiritual

 events.    MCGRAYAN and others, known and unknown, convinced such

 SUBJECTS to become titular owners of newly formed or dormant

 corporations that were, at most, a “shell” or placeholder for

 future use.      MCGRAYAN advised such SUBJECTS that owning a shell

 was legitimate and done to legitimately obtain loans.

             b.     The names of the shells were consistent in their

 vagueness, which lent them some apparent legitimacy, such as

 “Global 6 Solutions,” “Global Ultimate Management,” “Mass

 Exclusive LLC,” or “Optimal Business Solutions.”             Several such

 entities purported to conduct information technology services,

 such as “Dynamic Delivery Install” or “Dynamic IT.”              Others

 appeared to be engaged in some sort of automotive business, such

 as “CP Mobile Mechanic,” “Mobile Auto Repair,” or “CM General

 Auto Electric Supply.”      Still others appeared to be in the art

 or printing field, such as “Art Mart” or “Zart Art Printing.”

 No matter the shell’s name, the SUBJECTS whose names were

 associated with shell ownership had no intent to conduct

 business and had no significant, if any, history of similar

 business ownership or experience.

             c.     At MCGRAYAN’S direction, such SUBJECTS opened

 bank accounts in the names of the shells (“shell accounts”);

 granted MCGRAYAN and other co-schemers permission to access and

 to transact business on the shell accounts by providing their

 personal identifying information and passcodes and facilitating



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 remote access to computers (including computers provided by

 MCGRAYAN) via software programs such as “Any Desk;” and provided

 blank checks to MCGRAYAN and wrote checks on the shell accounts

 to other accounts or payees.        MCGRAYAN advised such SUBJECTS –

 as the titular “owners” of shell corporations and the

 signatories of shell accounts – that the sole purpose of their

 corporate ownership and the shell accounts was to assist

 MCGRAYAN in legitimately obtaining loans but the evidence shows

 that the sole purpose was, instead, to fraudulently obtain and

 launder proceeds of fraudulently obtained loans.

             d.    Another common feature of the offense conduct was

 that MCGRAYAN directed such SUBJECTS to sign federal income tax

 returns for their respective shells, not to report legitimate

 income, but to fraudulently support loan applications on behalf

 of their shells because the lenders relied on tax returns as

 part of the underwriting decision.          I know from my training and

 experience that individuals commonly submit fake tax returns to

 lenders to fraudulently obtain loans.          Here, however, MCGRAYAN

 and such SUBJECTS went a step further.           The evidence shows that

 the prospective lenders would investigate whether the shells had

 actually filed tax returns with the IRS as opposed to simply

 providing lenders with copies of what the SUBJECTS represented

 were the shells’ genuine tax returns.          Based on my training and

 experience, I have observed that many lenders have evolved from

 earlier underwriting practices to where they actually obtain an

 applicant’s (e.g., a shell’s) tax returns directly from the IRS.

 Thus, to lend further legitimacy to what I believe were fake


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 returns, MCGRAYAN paid a tax preparer, in cash, to prepare

 returns for such SUBJECTS’ shells that falsely reported not only

 substantial income but substantial income tax due.              The evidence

 further shows that MCGRAYAN assuaged any concern on the part of

 a SUBJECT in whose shell’s name a loan was sought by stating

 that the financial information on the return was accurate and

 that he (MCGRAYAN) would ensure that any taxes would be paid.

             e.    MCGRAYAN and such SUBJECTS further, and commonly,

 attempted to create the appearance of the shells’ legitimacy

 with other fraudulent documents that were provided to lenders in

 connection with loan underwriting.          For example, I have probable

 cause to believe that MCGRAYAN and SUBJECTS signed standard form

 “purchase agreements” that purported to memorialize the purchase

 of businesses that were, in fact, simply shells with no value;

 created fake websites and resumes; fraudulently claimed prior

 employment; doctored bank statements; and concocted office

 leases or obtained cheap office space leases, again solely to

 fraudulently create the appearance that the shells were going

 concerns.

             f.    Finally, ill-gotten loan proceeds were routinely

 laundered back and forth through shell accounts in a process

 called “layering.”      For example, loan proceeds were initially

 deposited into an account for the applicant/shell.              MCGRAYAN

 then directed the SUBJECT who was the signatory on the account

 to deposit checks from other shells into that shell account.

 MCGRAYAN then remotely accessed that shell’s bank account and

 transferred funds to other shell accounts; directed the account



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 holder to give him the checkbook for that shell’s account; or

 directed the account holder to purchase cashier’s checks for

 deposit into another shell account.           This was done for multiple

 reasons.    First, transfers into and out of shell accounts were

 conducted to make it appear that the shell account had genuine

 business activity.      Transfers to individuals were kept at a

 minimum; most transfers were in the name of, again, shell

 entities whose names, again, seemed legitimate.             Next, transfers

 from other shell entities to a shell/applicant’s account that

 appeared to show legitimate business activity were done to

 satisfy a loan condition that a SUBJECT had sufficient

 downpayment or equivalent funds to buy another (fake) business.

 Next, SUBJECTS used those same accounts to conceal the ill-

 gotten loan proceeds.      And there were literally thousands of

 laundered transactions, including many in amounts of just under

 $10,000, evidencing structuring to avoid Bank Secrecy Act

 reporting requirements. 2     The SUBJECTS ultimately used the



       2  The following legal authority was provided by the AUSA:
      Federal law requires banks and other financial institutions
 to file reports with the Secretary of the Treasury whenever they
 are involved in a cash transaction or exchange of currency that
 exceeds $10,000. “A person who willfully violates this law is
 subject to criminal penalties.” 31 U.S.C. §§ 5313, 5324; 31 CFR
 § 103.22(a),(b)(2006 Ed.); Ratzlaf v. United States, 510 U.S.
 135, 136 (1994); see also, United States v. Turner, 400 F.3d
 491, 497 (7th Cir. 2005)(in case charging conspiracy to launder
 money, “we know that certain types of transactions may be
 indicative of a design to conceal. These include transactions
 surrounded in unusual secrecy, structured transactions,
 depositing ill-gotten funds into another’s bank accounts, using
 third parties to conceal the real owner, or engaging in unusual
 financial moves which culminate in a transaction.”).



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 proceeds for personal uses or for purposes plainly not

 authorized by the terms of the loans. 3
                             IV. PROBABLE CAUSE

       A.     The Paycheck Protection Program

       17.    The Coronavirus Aid, Relief, and Economic Security

 (“CARES”) Act was a federal law enacted in or about March 2020

 that was designed to provide emergency financial assistance to

 Americans suffering economic harm as a result of the COVID-19

 pandemic.    One form of assistance provided by the CARES Act was

 the authorization of United States taxpayer funds in the form of

 loans to small businesses for job retention and certain other

 expenses, through a program referred to as the Paycheck

 Protection Program (“PPP; loans under that program are sometimes

 referred to herein as a “PPPL” or “PPPLs”).            PPPL proceeds were

 required to be used by the applicant business to pay certain

 expenses such as payroll costs, interest on mortgages, rent, and

 utilities.




       3  The following legal authority was provided by the AUSA:
      Joinder of criminal defendants is appropriate if they “are
 alleged to have participated in the same act or transaction, or
 in the same series of acts or transactions, constituting an
 offense or offenses.” Fed. R. Crim. P. 8(b); see also Zafiro v.
 United States, 506 U.S. 534, 537 (1993) (“There is a preference
 in the federal system for joint trials of defendants who are
 indicted together.”). Trying codefendants together is “the
 rule, rather than the exception ... especially in conspiracy
 cases.” See, e.g., United States v. Barnes, 979 F.3d 283, 316
 (5th Cir. 2020). If defendants are tried together, the court
 can give the jury instructions to consider each count, and the
 evidence pertaining to it, as to each defendant. “A jury is
 presumed to follow [the court's] instructions.” Weeks v.
 Angelone, 528 U.S. 225, 234 (2000).

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         18.   In order to obtain a PPPL, a qualifying business was

 required, among other things, to submit a PPPL application that

 required the applicant business (through its authorized

 representative) to acknowledge PPP program rules and make

 certain affirmative certifications that the applicant business

 would comply with all such rules to be eligible to obtain a

 PPPL.    Such certifications required, among other things, that

 the applicant affirm that “[PPP] funds will be used to retain

 workers and maintain payroll or make mortgage interest payments,

 lease payments, and utility payments,” and that the “loan

 proceeds will be used only for business-related purposes as

 specified in the [PPPL application]” and consistent with PPP

 rules.    The authorized representative of the applicant was also

 required to certify that “the information provided in th[e] PPP

 application and the information provided in all supporting

 documents and forms is true and accurate in material respects,”

 and that “I understand that if the funds are knowingly used for

 unauthorized purposes, the federal government may hold me

 legally liable, such as for charges of fraud.”

         19.   A PPPL applicant’s representative was also required

 to state, among other things, the applicant’s average monthly

 payroll expenses and number of its employees.             These figures

 were used to calculate the amount of money that the business was

 eligible to receive under the PPP.          In addition, the applicant’s

 representative was required to provide documentation showing its

 payroll expenses and such other documentation as the SBA or the

 lender requested.



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       20.    A PPPL application and supporting documents were

 submitted online through a portal and processed by a

 participating lender.      The applicant’s representative confirmed

 his/her true identity through a variety of means including

 providing personal identifying information, uploading a copy of

 that person’s driver’s license and/or Social Security card,

 and/or executing loan documents via a document authentication

 platform such as DocuSign.          If a PPPL application was approved,

 the participating lender would fund the PPPL using its own funds

 and would wire-transfer those funds to a bank account designated

 by the applicant.      By wire-transferring the loan proceeds to

 that designated account, the lender, the SBA and, ultimately,

 law enforcement would have yet another way to ensure that the

 application was sought by the stated applicant through his/her

 duly acting representative and that the applicant received and

 used those funds in accordance with PPP rules.

       21.    If PPP lending criteria were followed by the lender,

 the SBA, in turn, guaranteed the borrower’s repayment in the

 event of that borrower’s default.

       B.    The Economic Injury Disaster Loan Program

       22.    In addition to the PPP, the CARES Act authorized

 taxpayer funds under the Economic Injury Disaster Loan program

 (individually, an “EIDL,” or, collectively, “EIDLs”).               The EIDL

 program provided low-interest funding to small businesses,

 renters, and homeowners affected by the COVID-19 pandemic.

       23.    In order to obtain an EIDL, a qualifying business was

 required to submit an application to the SBA, typically through



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 an online portal, and provide information about its operations,

 such as the nature of the applicant’s business (e.g.,

 “agriculture”), the number of employees, and gross revenues for

 the 12-month period preceding the Covid-19 pandemic.               Like

 PPPLs, EIDL applicants were required to certify that all

 information in the application as provided by the applicant or

 on behalf of the applicant by their authorized representative

 was true and correct.

       24.    An EIDL “Loan Authorization and Agreement” (“LA&A”)

 was executed by the applicant’s authorized representative as a

 condition of receipt of EIDL proceeds.           The LA&A required that

 the applicant would use the EIDL proceeds only for purposes

 stated in EIDL rules, such as for employee payroll expenses,

 employee sick leave, and business obligations and expenses such

 as business debts, rent, and mortgage payments.              EIDL funds

 could not be used other than for those purposes, including that

 such funds could not be deposited or held for future business

 operations, used to capitalize a new business or for business

 start-up expenses, or used for purposes not associated with the

 operation of a going concern.

       25.    The amount of an EIDL was determined, in part, by the

 applicant’s representations in the EIDL application about the

 nature of the applicant’s business and the applicant’s

 statements about employees and revenue.              Any funds paid under an

 EIDL were issued directly by the SBA from CARES Act

 appropriations by Congress.




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       26.    If the EIDL applicant also obtained a PPPL, EIDL

 proceeds could not be used for the same purpose as the PPP loan

 proceeds.

       27.    PPP and EIDL applicants were also obligated to

 provide true and correct information in response to requests by

 PPP lenders or the SBA as part of the PPPL and EIDL vetting

 process, such as requests to clarify business ownership and

 requests to provide genuine payroll tax documents such as IRS

 Forms 940, 941, or W3 “Transmittal of Wage and Tax Statements.”

       C.    PPPL Forgiveness

       28.    Under certain circumstances, PPP borrowers were

 entitled to forgiveness of their PPP obligations.             As a

 condition of forgiveness, borrowers were required to complete a

 “PPP Loan Forgiveness Application” on which their authorized

 representative represented and certified that the borrower had

 complied with all PPP rules “including the rules related to               . .

 . eligible uses of PPP loan proceeds[]” and that “[t]he

 information provided in th[e forgiveness application was] true

 and correct in all material respects.”           The forgiveness

 application warned that ”knowingly making a false statement to

 obtain forgiveness was a federal crime, punishable by

 imprisonment and/or a fine.”

       29.    I know from my training and experience, and from

 evidence gathered in this case, that PPP lenders and the SBA

 relied on an applicant’s truthfulness in statements made on

 applications and related documents, and on the genuineness of




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 documents submitted by applicants in support of applications, to

 determine whether to approve PPPLs or EIDLs.

       D.    SBA’s Preferred Lender Program

       30.    Both before, throughout, and after the Covid-19

 pandemic, the SBA offered loans to finance the purchase or

 start-up of, or for working capital for, small businesses

 through a program known as Preferred Lender Program (“PLP”).

 Such loans (herein individually referred to as a “PLP,” or

 collectively as “PLPs”) were offered to small businesses or

 individuals seeking to buy or improve small businesses who might

 not be eligible for business loans through normal lending

 channels.

       31.    PLPs were administered by financial institutions or

 other lenders that conducted underwriting or due diligence,

 including, for example, site visits, requesting an applicant’s

 financial statements, obtaining federal income tax returns from

 the IRS, verifying proof of good faith downpayments or deposits,

 independently evaluating businesses to be acquired, evaluating

 the seller’s accounts receivable, and reviewing leases for

 business space.        A PLP lender that complied with SBA

 underwriting guidelines was eligible for an SBA guarantee of a

 substantial part of the loan in the event of a borrower’s

 default.

       32.    I know from my training and experience that PLP

 lenders and the SBA relied on the parties’ truthfulness in

 statements made on PLP applications and in related documents, or

 provided through escrow holders or business brokers, and on the



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 genuineness of documents submitted in support of applications,

 to determine whether to approve PLPs.

       E.    Interview of F.N.

       33.     On May 2, 2025, I interviewed F.N.          F.N. told me the

 following, among other things:

             a.     He recognized MCGRAYAN from a photograph that I

 showed him.      (The photograph came from a genuine copy of

 MCGRAYAN’s driver’s license.)

             b.     F.N. is a musician.      He met MCGRAYAN in 2016 at

 social events where F.N. performed.           F.N. befriended MCGRAYAN

 and was ultimately hired by MCGRAYAN to perform music at

 MCGRAYAN’s house.      F.N. was impressed by MCGRAYAN because

 MCGRAYAN seemed reliable and resourceful.            MCGRAYAN called F.N.,

 “brother” and said that he (MCGRAYAN) was an attorney. 4

             c.      Near the end of 2018 or in early 2019, F.N. was

 blinded by a reaction to medication.           MCGRAYAN visited him and

 appeared empathetic.      MCGRAYAN told F.N. that he (MCGRAYAN)

 would help F.N. recover by starting a business to sell guitar
 lessons online, something that F.N. had wanted to do.



       4  I searched the California State Bar’s license lookup
 site and found no record that MCGRAYAN was a member of the
 California Bar. I did query law enforcement databases for
 records of individuals who sought fingerprinting and found an
 entry that MCGRAYAN was fingerprinted on May 29, 2019, as part
 of his application for a State Bar license but that as of July
 21, 2022, he was “no longer interested.” I also conducted an
 open source/Internet search and found no result that MCGRAYAN is
 or was a member of the bar of any other state. I did see online
 a “LinkedIn” page for MCGRAYAN that stated that MCGRAYAN
 graduated from Southwestern Law School in 2015 and then was
 enrolled in an L.L.M. program in banking and securities law
 offered by the University of Southern California.

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             d.     MCGRAYAN then told F.N. that he started a

 business for F.N. called “Music E Solutions” but did so without

 F.N.’s knowledge or permission.         F.N. did not conduct any

 business activity with Music E Solutions and, around May 2019,

 F.N. spoke to MCGRAYAN who suggested that the company named be

 changed to “Mobile Auto Repair, Inc.” (“MARI”).             F.N. asked

 MCGRAYAN if that was legal and MCGRAYAN said that it was.

 MCGRAYAN then directed F.N. to go to a location in downtown Los

 Angeles to register MARI in F.N.’s name.             F.N. did so. (I know

 from reviewing California Secretary of State records that on May

 2, 2019, a Statement of Information (“SOI”) was filed that

 reflected that F.N. became MARI’s sole officer and director.               I

 also know from reviewing California Secretary of State records

 that MARI was incorporated in June 2017 and that it was

 suspended due to the failure to file a SOI until F.N. filed an

 SOI in May 2019.       I believe, based on my training and experience

 that the history of MARI’s incorporation is consistent with that

 of forming a “shell” corporation for later sale or use.)

             e.    F.N. knew nothing about being a mechanic and did

 not intend to operate MARI as a mechanic or any other business.

             f.    Around the same time (May 2019), MCGRAYAN

 directed F.N. to open multiple bank accounts in the name of MARI

 with F.N. as the sole signatory.         F.N. thought doing so was

 suspicious and questioned MCGRAYAN why he should do so and

 whether it was legal.      MCGRAYAN said that it was necessary to

 help qualify for loans and that it was legal.             MCGRAYAN rebuffed




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 F.N.’s inquiry by questioning F.N.’s loyalty to MCGRAYAN, saying

 things like “brother, it’s ok” or words to that effect.

              g.   MCGRAYAN also told F.N. that money from some

 unnamed “business in New York” would be deposited into the MARI

 accounts.    MCGRAYAN told F.N. to give MCGRAYAN access to the

 accounts by providing MCGRAYAN with F.N.’s driver’s license and

 Social Security numbers, date of birth, and accounts passcodes.

 MCGRAYAN also told F.N. to give MCGRAYAN and “the New York guys”

 remote access to F.N.’s computer.         F.N. provided the government

 an excerpt of a WhatsApp chat, more fully discussed below, in

 which MCGRAYAN told F.N. to use “Any Desk” for remote access.

 (I learned from an open source/Internet search that “Any Desk”

 is a software application that allows remote access of a

 computer.)

              h.   MCGRAYAN directed F.N. to deposit checks into the

 MARI accounts.     F.N. received checks by mail and, as MCGRAYAN

 had directed him, F.N. took pictures of those checks, sent those

 images to MCGRAYAN, and deposited the checks into one of the

 MARI accounts.

              i.   At MCGRAYAN’s direction, F.N. brought blank

 checks for one or more of the MARI accounts to MCGRAYAN at

 MCGRAYAN’s house.

              j.   At MCGRAYAN’s direction, F.N. withdrew funds from

 one or more of the MARI accounts and used those funds to buy

 cashier’s checks in amounts as directed by MCGRAYAN.              F.N.

 recalled buying cashier’s checks from Bank of the West.               (I know

 from reviewing records from Bank of the West that F.N. bought



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 cashier’s checks of $175,000 (11/24/2021), $141,910

 (12/16/2021), $308,000 (12/17/2021), $485,010 (1/20/2022), and

 $518,151 (5/12/2022).)      MCGRAYAN directed F.N. to deposit the

 cashier’s checks into a MARI account and then divide those

 amounts into smaller checks and move them to other accounts.

             k.    F.N. personally appeared at branches of the banks

 to open the MARI accounts at MCGRAYAN’s direction.              In each

 case, F.N. presented bank employees with F.N.’s genuine

 identification documents and signed signature cards and account

 opening documents.      (I know from reviewing the signature cards

 and bank records that there were five MARI accounts and that

 each was opened and maintained at a bank branch located in Los

 Angeles County.)

             l.    F.N. estimated that, at MCGRAYAN’s direction,

 F.N. signed dozens, if not hundreds, of checks to move money

 between not only the MARI accounts but accounts in the names of

 what he believed were fake corporations like MARI.              F.N.

 estimated that he signed numerous other documents at MCGRAYAN’s

 direction and saw other documents that he did not sign but that

 had his signature that had been “cut and pasted.”

             m.    MCGRAYAN largely communicated with F.N. over the

 “WhatsApp” messaging platform.        (I know from my training and

 experience that “WhatsApp” is an end-to-end encrypted messaging

 platform that is commonly used to conduct criminal activity.)

 Below are excerpts from a WhatsApp exchange between F.N. and

 MCGRAYAN that F.N. provided that show MCGRAYAN’s direction to




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 F.N. to permit MCGRAYAN’s 24-7 access to F.N.’s computer and

 MCGRAYAN’s “frustrati[on]” with F.N.:




             n.    There were three other individuals on MCGRAYAN’s

 team that came to meet F.N. to deliver documents or to obtain

 F.N.’s signature on them.       On one occasion, a member of the team

 delivered to F.N. a completed federal income tax return for MARI

 that had F.N.’s name on the return and required his signature.

 F.N. reviewed the return and saw entries that he had no idea

 about or whether the information was correct.             F.N. noticed that

 the return indicated that MARI had a large amount of tax due.

 F.N. was concerned about being responsible for the taxes and

 spoke to MCGRAYAN.      MCGRAYAN told him “don’t worry, we will



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 handle the tax payments” or words to that effect.             F.N. later

 learned that no taxes were ever paid. 5

             o.    MCGRAYAN directed messaged F.N. over WhatsApp to

 deposit checks into specific accounts; MCGRAYAN attached images

 of those checks and emailed those checks to F.N.             (See above for

 an example.)

             p.    MCGRAYAN directed F.N. to participate in seeking

 loans, including bank loans and PPPLs and EIDLs.             F.N. was

 suspicious about the legitimacy of doing so, but MCGRAYAN told

 him not to worry because MCGRAYAN would make sure that the loans

 were repaid.     (I know from reviewing the evidence in this case

 that there was at least one loan of $250,000 by JPMorgan Chase

 to MARI whose payments were made from what I believe to be

 laundered proceeds; a PPP loan for $24,345; and nearly $1.5

 million in EIDL and EIDL modifications.)

             q.    MCGRAYAN directed F.N. to make calls to help get

 loans approved.

             r.    MCGRAYAN directed F.N. to conduct the foregoing

 activities over WhatsApp for several years.

             s.    F.N. became increasingly afraid of MCGRAYAN as

 MCGRAYAN’s tone became more belligerent when F.N. questioned

 MCGRAYAN about whether what they were doing was legal.              MCGRAYAN

 told F.N. that they had a “blood pact, and that you don’t want

 to fuck with me or the New York guys.”



       5 A law enforcement database query revealed that MCGRAYAN
 in July 2020 was fingerprinted in connection with applying to be
 a licensed tax preparer.

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              t.   F.N. believed that MCGRAYAN was “scary and

 unhinged.”    He was at MCGRAYAN’s house in 2022 and saw MCGRAYAN

 pull out a gun 6 and baseball bat and approach a man who had just

 arrived in a car.       F.N. saw MCGRAYAN approach the man and saw

 MCGRAYAN wield the bat and heard MCGRAYAN scream at the man.

 MCGRAYAN said that he called the FBI on the man.              MCGRAYAN

 several times over the years of their dealings told him, “don’t

 fuck with us.”     MCGRAYAN told F.N. that MCGRAYAN grew up with

 gangs in Armenia and was a semi-professional boxer.

              u.   F.N. moved to Japan in or about March 2025, in

 part out of concern for his safety for having been involved with

 MCGRAYAN that was triggered by receiving a target letter.                (I

 served F.N. with a target letter regarding this investigation in

 February 2025.)

       F.     Interview of A.M.

       34.    I interviewed A.M., who told me the following, among

 other things:

              a.   He is a tax preparer.

              b.   He met MCGRAYAN socially around 2021 and told

 MCGRAYAN that he was starting a tax preparation business.

              c.   MCGRAYAN started referring clients to him around

 that same time.        MCGRAYAN told him that the clients needed tax

 returns prepared to help qualify for loans.




       6 A law enforcement database query shows that MCGRAYAN was
 fingerprinted on September 24, 2024, in connection with his
 application to the Pasadena Police Department for a concealed
 firearm carry permit.

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             d.    A.M. received several client referrals from

 MCGRAYAN (collectively, the “MCGRAYAN Clients”).             A.M.

 identified by name the several MCGRAYAN Clients including

 (SUBJECTS) SHAW, MARK, BENJAMIN, AYDI, VACHYAN, NIKOGHOSYAN,

 HARVARD, ANAHIT, STAVROS, DIAMONDZ, and BORIS.

             e.    A.M. prepared tax returns on behalf of the

 MCGRAYAN Clients for their respective business entities based on

 scant financial statements or information that each client

 provided either in a face-to-face meeting with A.M. or by email.
 A.M. thought the financial statements were “odd” but clients

 told him that the financial statements were prepared “overseas.”

 A.M. produced several email examples of requests to prepare tax

 returns for MCGRAYAN Clients, to which financial statements were

 attached, including the following:




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             f.    As shown by the example above, A.M. was hired to

 prepare multiple years’ tax returns for a client’s purported

 business entity (here, a shell) where at least some of the

 returns were untimely.      Thus, it was typically, if not always,

 the case that the returns were prepared and signed on the same

 day for multiple years.

             g.    A.M. verified the identity of each of the

 MCGRAYAN Clients by meeting each of them face-to-face when they

 signed each return or by obtaining from each such client copies

 of their photo identification so that he could then have each

 such client sign each return using the DocuSign online

 authentication platform.

             h.    Each MCGRAYAN Client signed the return(s) without

 objection or question, including when A.M., as he typically did,

 told the MCGRAYAN Client, “you owe a lot of taxes” and also

 explained to each of them the consequences of failing to pay

 such taxes.

             i.    MCGRAYAN directed A.M. to e-file each such

 return.

             j.    MCGRAYAN, not the clients, paid A.M., in cash, to

 prepare each return.

             k.    A.M. was happy to get the referrals from MCGRAYAN

 because he (A.M.) was just starting his tax return preparation

 business.




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       G.    SUBJECTS MCGRAYAN, SHAW, and MARK: Wire Fraud, Bank
             Fraud, and Money Laundering re “Dynamic” PLP Loan

       35.    In June 2023, SHAW 7 applied to Grasshopper Bank (“GB”)

 for a $2,830,000 PLP loan to purchase “Dynamic Delivery Install,

 Inc” from MARK (the “Dynamic PLP”).           In summary, I have probable

 cause to believe that MCGRAYAN, SHAW, and MARK schemed to

 defraud GB by making false statements and submitting phony

 documents, including fraudulently concealing SHAW’s criminal

 history, lying about prior employment, and providing fake bank

 statements and fake federal income tax returns.             The Dynamic PLP

 was approved and its proceeds disbursed to a shell account whose

 signatory was MARK who, in turn, laundered the proceeds through

 other shell accounts and structured cash withdrawals to further

 conceal the fraudulent use of loan proceeds.

       36.    I reviewed the Dynamic PLP loan file provided by GB

 and learned the following:

             a.    On a standard “SBA 7(a) Borrower Information

 Form” that I am familiar with from examining numerous PLP loan

 files, SHAW was identified as the “100%” owner of the purchaser,

 “Dynamic IT Solutions, Inc.”

             b.    A June 2023 “business purchase agreement”

 identified “Dynamic IT Solutions, Inc.” as the buyer and

 “Dynamic Delivery Install Inc.,” as the seller.             MCGRAYAN was

       7  I have concurrently applied for an arrest warrant on a
 complaint affidavit alleging that SHAW and others to whom he is
 related or engaged in business fraudulently sought pandemic
 stimulus funds by submitting phony documents and then misusing
 those funds. I hereby incorporate that complaint affidavit
 (attached here as Exhibit A) as further probable cause to
 believe that SHAW committed the offense conduct described
 herein.

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 identified as the broker through his business, “Exceed

 Companies.”    I have seen these standard form “business purchase

 agreements” in the other PLP loan transactions described below

 that I believe to be similarly fraudulent.            Each such

 transaction also identified the same escrow company, “Escrow 1,”

 and the same escrow officer, “Escrow Officer 1.”

       37.     The files for the Dynamic PLP identified SHAW as the

 buyer’s representative based on an image of SHAW’s genuine

 driver’s license that matched SHAW’s driver’s license and

 referenced SHAW’s residence address at the same address shown on

 his driver’s license.      I know from my training and experience

 that PLP lenders require documentary proof of parties’

 identities in the form of photos of driver’s licenses, Social

 Security cards, or passports.

       38.     On April 3, 2023, as part of GB’s due diligence, SHAW

 signed a “personal resume” in which he identified himself as

 SHAW, with his true date of birth, Social Security Number, and

 driver’s license.      SHAW checked the box, “no,” in answer to the

 question, “have you ever been charged with and/or arrested for

 any criminal offense other than a motor vehicle violation?               This

 includes offenses which have been dismissed, discharged or not

 prosecuted.”     I obtained copies of SHAW’s driver’s licenses

 under both his given name, “Sarkis Sarkisyan,” and SHAW,

 depicted here:




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       39.   I know from law enforcement databases that SHAW, under

 his birth name, “Sarkis Sarkisyan,” was convicted of felonies in

 the State of California in 2011. 8        I know from my training and

 experience in investigating PPP, EIDL, PLP, and other SBA-

 related loan fraud cases that lenders deem borrower’s criminal

 histories material to evaluating whether to approve loans.

       40.    SHAW also listed on the same document his “business

 experience” as including prior employment by “Oncore Inc.,”

 “from 2012 to 2020” as “IT Specialist – Handling Technical

 Support on Daily Basis.”       I interviewed H.A. in connection with

 visiting Oncore Inc. at the same address that SHAW had given.

 (H.A. was not present but I spoke to him over the phone on a

 call placed to him by an Oncore employee at my request.)               H.A.

 said that he was a co-owner of Oncore Inc. and that Oncore Inc.

 employed IT specialists and dispatchers.             H.A. said that neither

 Sarkis Sarkisyan or SHAW were ever employed by Oncore Inc. and

 that H.A. did not know SHAW.        I know from my training and

 experience in investigating this and similar cases that an

       8 In 2011, SHAW was convicted in Santa Clara Superior
 Court, case no. B1151803, of unauthorized access to computers
 (Cal.Pen.C. sec. 502(c)(1)), theft of credit card information
 (Cal.Pen.C. sec. 484e), counterfeiting credit cards (Cal.Pen.C.
 sec. 484i), and conspiracy (Cal.Pen.C. sec. 182).


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 applicant’s statement about prior employment, especially a claim

 of prior employment in a field relevant to the application, is

 considered material to evaluating whether to approve a loan.               I

 also know from reviewing evidence gathered in this investigation

 that it was common for SUBJECTS to claim to own “IT”

 (information technology) companies or to engage in “IT” work,

 including making claims that their IT companies hired offshore

 contractors where, based on the totality of the evidence, I

 believe such claims were false.

       41.    I know that PLP lenders typically required that

 borrowers provide proof of funds for deposits to show that

 borrowers had “skin in the game,” similar to where lenders

 require that applicants for home mortgages put up downpayments.

 The required deposits were typically quite large, such as more

 than $400,000 in cash for a $3 million loan.            I also know that

 such funds must be “seasoned,” meaning that such funds had to be

 in the account for a reasonable time before a loan application

 was submitted to mitigate the lenders’ risk that such funds were

 borrowed or not otherwise based on the borrower’s legitimate

 financial activity.

       42.    GB received four months of purported bank statements

 to prove that SHAW had seasoned funds sufficient to pay the

 deposit of $465,000 as required under the Dynamic PLP business

 purchase agreement.      The bank statements that SHAW provided to

 GB depicted a JPMC account ending in 3038 (the “JPMC 3038”) in

 SHAW’s name at the same address shown on his driver’s license.

 I know from reviewing genuine statements that SHAW opened that



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 account on January 6, 2023 by providing his true Social Security

 number, driver’s license number, and date of birth, and that he

 gave that same address as his residence address.

       43.    I believe that the JPMC 3038 statements that were

 provided as proof of SHAW’s deposit funds were fake (the “SHAW

 Statement(s)”).        The SHAW Statements started with January 2023

 and went through May 2023.           For example, the first such SHAW

 Statement, for January 24 through February 21, 2023, indicated a

 beginning balance of $802,959.56.           However, I compared that

 statement for the same period to the genuine statement that I

 obtained from JPMC for JPMC 3038.           The genuine statement’s

 beginning balance was $2,959.56, or $800,000 less than the

 beginning balance shown on the SHAW Statement.               Based on my

 training and experience, I believe that the SHAW Statement was

 “photoshopped” or otherwise altered through the use of software

 like Adobe Photoshop. 9      The ending balance for the same period on

 the SHAW Statement was $858,421.36, or approximately $800,000

 more than the true ending balance for the same period on genuine

 statement, $86,421.91.       The SHAW Statements for the three months

       9  I know from my training and experience that fraudsters
 use Adobe Photoshop or similar programs, some of which are
 available online for free, to create phony bank or business
 documents. The process is, unfortunately, quite simple: the
 fraudster scans a genuine document, say a bank statement, to
 create a digital file. The program then digitizes the
 characters in the document, thus enabling the characters to be
 manipulated or changed. The fraudster then edits the document
 to his or her liking and saves the fake in “pdf” format. The
 fraudster would not email the fake “pdf” version because the
 “properties” feature could be used to reveal the manipulation.
 Thus, the fraudster would instead print the fake version and
 forward that printed version or save that printed version
 (neither of which would have incriminating “creation date” or
 similar metadata) to the lender.

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 thereafter reflected the false balance and ultimately, but

 falsely, showed seasoned downpayment funds available to close

 the deal.     Here are images of the first SHAW Statement and the

 genuine statement (the SHAW Statement is on the left; the

 genuine statement is on the right):




         44.   I also found it to be common practice that PLP

 lenders required that borrowers provide federal income tax

 returns as part of loan underwriting.          The loan file for the

 Dynamic PLP contained what purported to be Form 1040 federal

 income tax returns for SHAW for calendar years 2020, 2021, and

 2022.    Each return contained the name of the same preparer,

 A.M., who, as stated above, identified SHAW as one of many

 MCGRAYAN Clients for whom he prepared business entity returns

 solely to qualify for loans (as opposed to needing to file their

 returns to comply with income tax laws).             I have probable cause

 to believe, based on the totality of the evidence, including

 F.N.’s statement, that SHAW, like all other participants in the

 fraudulent PLPs discussed herein, signed and caused the returns



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 to be filed knowing that the returns were fraudulent and

 obtained solely to qualify for PLPs, and that each such SUBJECT

 well knew that they were participating in a fraudulent scheme

 for that reason alone, notwithstanding that any such SUBJECT may

 have been told by MCGRAYAN that signing such returns, or doing

 any other act to accomplish something that was false or

 fraudulent, was otherwise “legitimate” or “legal.” 10

       45.    Each of the tax returns provided to GB was prepared

 by A.M. on the same day, February 14, 2023; thus, the 2020 and

 2021 returns were untimely and, therefore, I have further

 probable cause to believe that the returns had been prepared to

 support SHAW’s loan application as opposed to reporting genuine

 financial activity.

       46.    A.M. further stated that he prepared the tax returns

 for his clients solely on the basis of information provided by

 the client and that he verified the identity of his clients

 during face-to-face meetings or requested and received via email

 a photocopy of their driver’s license and Social Security card.

 A.M. said that his clients either signed their returns in his

 presence or via the “DocuSign” signature authentication

 platform.

       47.    On each of the tax returns that were provided to GB,

 SHAW represented that he earned hundreds of thousands of dollars


       10Based on SHAW’s offense conduct described in the
 concurrently submitted complaint affidavit describing SHAW’s
 fraud in connection with seeking a PPP for a different phony
 shell, “Prime Funding” (see Exhibit A), I also have probable
 cause to believe that SHAW well knew that the returns were
 fraudulent and had them prepared with the intent to defraud GB.

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 annually as an “IT Specialist.”         He reported owing approximately

 $165,000 in federal income taxes in total for those tax years

 (2020-2022).     Based on my investigation, I found nothing to

 indicate that SHAW paid any such income tax.            I also noted that,

 despite stating that he was employed by Oncore Inc. for 2012-

 2020, he never reported any compensation from Oncore Inc.

       48.    I also found to be common practice that PLP lenders

 obtained “transcripts” from the IRS to confirm that loan

 applicants actually filed the returns that they provided to the

 lenders.    (In some cases, the lenders obtained such returns from

 the IRS.)    I know from my training and experience that IRS

 transcripts are summaries of IRS filings that include, for

 example, the tax year for a return, the date the return was

 filed, the adjusted gross income and tax due and payable per the

 return, and penalties or interest assessed for late-filed

 returns.

       49.    The Dynamic PLP loan file contained IRS transcripts

 that I believe to be genuine.        The transcripts showed that each

 of the above-described returns was untimely; that each was

 actually submitted to the IRS on the same day; that the 2020 and

 2021 returns were assessed a late filing penalty; and that each

 return reported substantial tax due and owing, collectively

 approximately $165,000, not including penalties or interest.               I

 have learned in the course of this investigation that a common

 feature of the fraudulent scheme was different from other fraud

 schemes where perpetrators simply provided unfiled income tax

 returns to lenders for underwriting.          Here, perpetrators



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 actually filed tax returns with the IRS but the returns

 contained false information, including huge income numbers and

 large taxes due and owing.          Based on the evidence gathered in

 this investigation, I believe that the SUBJECTS who signed or

 caused to be filed such returns – late, through the same

 preparer, solely to obtain loans, claiming large income and

 large tax due and owing, but paying no taxes – did so solely to

 create the appearance of substantial income and the ability to

 repay their loans, and all solely to satisfy lender underwriting

 criteria.

       50.    GB approved the Dynamic PLP loan application.              A

 closing statement in the Dynamic PLP loan file identified Escrow

 Officer 1 as the escrow officer.          I know from this investigation

 that Escrow Officer 1 was the same escrow officer at Escrow 1

 for several fraudulent PLP loans, some of which are described

 herein.

       51.    Based on my review of the Dynamic PLP loan file and

 bank statements obtained via subpoena, I know that the

 $2,748,546 in net loan proceeds were wired from GB to an Escrow

 1 account at City National Bank in Los Angeles on June 13, 2023.

 Together with the $465,000 deposit, Escrow 1 disbursed those

 proceeds, in relevant part, as follows: (1) a check for

 commissions to MCGRAYAN for $62,000, and (2) a check to the

 purported seller, Dynamic Delivery Install, Inc. (MARK’s shell

 company), for $3,021,606.

       52.    The Dynamic PLP proceeds check for $3,021,606 was

 mailed to an address that I know from law enforcement databases



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 to be MARK’s residence address.         I obtained from JPMC via

 subpoena, and reviewed, records for an account ending in 0835

 (the “JPMC 0835”) and learned the following:

             a.    The proceeds check for $3,021,606 was deposited

 on June 14, 2023 into the JPMC 0835:




             b.    MARK opened the JPMC 0835 under the name of
 Dynamic Delivery Install, Inc. on June 30, 2020, by presenting

 his true Social Security number and identifying himself as

 “president.”     I compared MARK’s signature on the signature card

 for the 0835 account with his California driver’s license and

 believe they were signed by one and the same person:




             c.     The balance in JPMC 0835 before the deposit of

 the Dynamic PLP proceeds check was $44,769.26, a small balance

 compared to the PLP proceeds check of more than $3 million, thus

 making it easy to trace the use of those proceeds:




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              d.   As shown on the above-depicted “checking

 summary,” there were 40 electronic withdrawals totaling $768,057

 from the JPMC 0835, substantially all of which came from the

 Dynamic PLP loan proceeds check.         The same bank statement showed

 that those withdrawals occurred over only three days and all to

 shells whose owners, and the sole signatories on the shells’

 bank accounts, were SUBJECTS BENJAMIN (“Arms of Olympus”),

 HARVARD (“Olympus Axv Solutions”), PARKER (“Mass Exclusive”),

 NIKOGHOSYAN (“CM General Auto Electric Supplies”), and STAVROS
 (“Hawk Fleet”): 11




       53.    The JPMC 0835 bank statements further showed online

 transfers totaling $50,000 to SHAW’s shell, Prime, that he used

 to fraudulently obtain a PPP loan as more fully described in

 Exhibit A.




       11One such “online payment” on June 29, 2023 was to “Alpha
 Omega Solutions LLC” for $10,280.95. I know from my
 investigation that Alpha Omega Solutions LLC was a shell whose
 account signatory was ARSEN TERZIAN, aka Steven Terzaki.
 TERZIAN is a SUBJECT in the concurrently submitted complaint and
 affidavit against SUBJECT SHAW. (See Exhibit A).


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       54.     Within approximately four weeks, substantially all of

 the Dynamic PLP loan proceeds (more than $2.7 million) were

 transferred out via online transfers to the same shells that I

 have repeatedly noticed in this case were used to “layer”

 fraudulently obtained loan proceeds.

       55.     Finally, bank records from the JPMC 0835 show that,

 between July 3 and 31, 2023, MARK signed bank withdrawal slips

 (the signature on the slips matched that of his driver’s license

 and the signature card for the JPMC 0835) for nine separate cash

 withdrawals of $4,500.      I also know from my training and

 experience that breaking up cash withdrawals in this way is

 consistent with structuring to avoid reporting cash activity to

 the IRS.    I therefore have probable cause to believe, based on

 the totality of the evidence regarding the Dynamic PLP

 transaction and others described below, that these withdrawals

 represented MARK’s personal cut of fraudulently obtained and

 laundered proceeds.

       H.    SUBJECTS MCGRAYAN, MARK, and MUSAYELYAN: Wire Fraud,
             Bank Fraud, and Money Laundering RE “GDI” PLP Loan

       56.     I reviewed a PLP loan file from First Internet Bank

 of Indiana (“FIBI”) involving SUBJECTS MGGRAYAN, MARK, and

 MUSAYELYAN.      I learned the following that indicated that

 MCGRAYAN, MARK, and MUSAYELYAN committed wire fraud and money

 laundering in substantially the same manner as with the Dynamic

 PLP, described above:

             a.     A November 2023 standard form “Business Purchase

 Agreement” for MARK’s purported business, “Global Dynamic IT”




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 (“GDI”), to buy MUSAYELYAN’s’ purported business, “Global

 Ultimate Management” (“GUM”), for $3,650,000.             The agreement

 stated that the purchase price was to be paid by a $550,000 cash

 deposit and a PLP for $3,100,000 (“the GDI PLP”).

             b.    Like the Dynamic PLP deal between SHAW and MARK,

 MCGRAYAN was the broker who stood to receive a commission of

 tens of thousands of dollars.

             c.    MARK’s identity as the authorized representative

 of GDI was established by, at least: (1) a photocopy of the

 genuine driver’s license for MARK as requested by FIBI; (2) a

 “non-identity affidavit” with MARK’s true date of birth, Social

 Security number, and residence address that contained what

 appeared to be a live ink signature above what appears to be a

 notary jurat and signature of a notary who authenticated MARK’s

 signature; (3) a “personal financial statement” that identified

 MARK by what I have verified by law enforcement databases and

 other loan documents to be his then personal residence; (4) a

 “beneficial ownership” statement that contained not only a

 substantially identical live ink signature that matched that of

 MARK’s driver’s license but also contained his true date of

 birth, driver’s license number, and Social Security number; and

 (5) a “personal eligibility questionnaire” that contained not

 only a substantially identical live ink signature that matched

 that of MARK’s driver’s license but also contained his true date

 of birth, driver’s license number, Social Security number, and

 an electronic “DocuSign” signature for “Axle MARK” next to his

 live ink signature.



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             d.    A “management resume,” bearing MARK’s true date

 of birth, Social Security number, personal residence address,

 and a live ink signature of MARK that matched that of the other,

 above-described GUM PLP loan documents and also bore the

 DocuSign signature of MARK, stated that MARK worked for “Oncore,

 Inc.” from 2012 to 2017 as “IT manager” to “handl[e] technical

 support on daily basis.”       As mentioned above, I spoke to H.A.,

 who identified himself as a co-owner of Oncore Inc.              He told me

 that MARK was employed by Oncore Inc. for about a year, not as

 an “IT Specialist” but as a “dispatcher.”            A “resume” that SHAW

 had provided in connection with the Dynamic PLP, described

 above, similarly misrepresented that SHAW had the identical

 position at Oncore Inc. (“IT Specialist – Handling Technical

 Support on Daily Basis”) and, as described above, an Oncore Inc.

 representative told me that SHAW never worked at Oncore Inc.

             e.    MARK’s “management resume” also claimed his work

 experience as “president” of Dynamic Delivery Install, Inc. from

 2017 to 2023.     I know from reviewing a duly subpoenaed loan file

 from the Federal National Mortgage Association that, in June

 2019, MARK applied for a loan to buy his personal residence (the

 same residence that he later identified on numerous loan and

 related documents in this investigation).            On his loan

 application, MARK stated that, as of June 2019, he had been

 employed as a “load salesman” for six years at $2,197/month.               He

 mentioned nothing about Dynamic Delivery Install, Inc., or his

 purported work in “IT.”       Thus, as stated above, I have probable

 cause to believe that Dynamic Delivery Install, Inc. was a shell



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 that was created or at least used for the sole purpose of

 supporting the fraudulent application for the Dynamic PLP loan.

             f.    I also know from my training and experience that

 FIBI, like other PLP lenders, required that a PLP borrower, here

 GDI, submit proof of seasoned good faith deposit funds.                Similar

 to how SHAW submitted fake bank statements to qualify for the

 Dynamic PLP, discussed above, so too MARK submitted fake bank

 statements to fraudulently obtain loan approval.              From reviewing

 the FIBI loan file, I learned that:

                   i.     The file contained a purported bank

 statement for a JPMC account ending in 1343 (the “JPMC 1343”) in

 the name of MARK at the same residence address that MARK

 provided on other loan documents (the “MARK Statement”).

                   ii.     For the period of September 1 through 29,

 2023, the MARK Statement showed a beginning balance of

 $805,002.02.

                   iii.     I obtained genuine records for the 1343

 Account from JPMC via subpoena.          I compared those genuine

 records to the Mark Statement (for the same period (September 1

 through 29, 2023)) and learned that the beginning balance on the

 genuine statement was actually $5,002.02, or $800,000 less than

 the MARK Statement.       The Mark Statement (i.e., the fabricated

 statement is on the left, below, and the genuine statement is on

 the right):




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                   iv.     I also noticed that the inflated number

 (appx. $800,000) on the MARK Statement was substantially
 identical to the inflated number on SHAW’s fake bank statements

 that he had provided in connection with fraudulently seeking the

 Dynamic PLP loan, described above, in which MARK was the sole

 owner of the purported (but fake) seller.

             g.    FIBI, like GB, required tax returns from the

 seller to establish that the seller, GUM, had genuine revenue to

 support its valuation for the purpose of justifying the purchase

 price in the purchase agreement.          I reviewed GUM’s tax returns

 that, like the Dynamic PLP, were prepared by A.M.              A.M. had told

 me that MCGRAYAN referred several clients to him to prepare tax

 returns for the purpose of the clients’ (or their “entities”)

 applications for loans.        A.M. recalled preparing the GUM

 returns.    These returns described millions in revenue and, over

 the period of three tax years, whose returns were prepared at

 the same time, and were untimely as to at least the first two

 years, reported over a hundred thousand dollars in tax due and

 owing.   Based on A.M.’s and F.N.’s statements, and the totality

 of the evidence gathered in this investigation, I have probable



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 cause to believe that GUM’s tax returns were fraudulent and

 submitted solely to defraud FIBI.

              h.   The GDI PLP was funded on February 23, 2024.            Net

 loan proceeds of $3,497,426 were disbursed by check no. 150376

 payable to “Global Ultimate Management” and mailed to 6615

 Hazeltine Avenue, Unit 103, Van Nuys, CA 91405, an address that

 I know from law enforcement databases was at that time

 MUSAYELYAN’s personal residence.

       I.     SUBJECTS MCGRAYAN, HARVARD, and DIAMONDZ: Wire Fraud,
              Bank Fraud, and Money Laundering re “OAS” PLP Loan

       57.    I reviewed records from Byline Bank and learned the

 following:

              a.   A May 2021 purchase agreement described “John

 Harvard, Olympus AXV Solutions, Inc.” (“OAS”) as the purchaser

 of the assets of “American Best Filter, Inc.” for $2,600,000.                I

 believe that SUBJECT HARVARD signed this agreement because the

 signature bearing his name matched that of his genuine driver’s

 license and his notarized signature on other documents

 associated with this transaction.

              b.   The seller’s signature line identified the seller

 as “Mery Diamondz D/B/A American Best Filter, Inc” (“ABF”) who

 signed the agreement on May 17, 2021.          The signature appeared to

 be a live ink signature of SUBJECT DIAMONDZ whose signature I

 recognized as matching that of DIAMONDZ’s genuine driver’s

 license and multiple bank account signature cards bearing her

 signature and identifying her by her true date of birth, Social

 Security number, and driver’s license number.




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              c.    The transaction was, like substantially all of

 the fraudulent PLPs in this investigation, brokered by MCGRAYAN

 who stood to receive a commission of several thousand dollars.

              d.    HARVARD represented that OAS intended to purchase

 the assets of ABF to “expand its operations” and that OAS was

 presently engaged in “provid[ing] commercial/ residential/

 industrial water filtration and water softener systems,

 primarily in the Los Angeles area.”           Consistent with the

 totality of the evidence gathered in this investigation, I

 believe OAS was merely a shell that was neither engaged in any

 such business nor did it intend to expand any business into the

 stated subject area or any other.

              e.    The loan file contained an office lease agreement

 dated November 1, 2021, for $500/month “to terminate on October

 31, 2026.”    Based on my observation of other leases for similar,

 small spaces, made at or close to applying for PLPs, I believe

 that the lease was fake and made with the intent to defraud

 Byline Bank.      No less, the lease did not identify OAS as the

 occupant; the occupant, identified in several places on the

 lease, including just above what appeared to be HARVARD’s

 genuine, live ink signature, was “American Olympus Solutions,

 Inc.,” what I believe to be yet another shell held by HARVARD.

       58.    In April 2025, I visited and photographed the

 building area where HARVARD claimed that OAS operated and saw no

 references to OAS’s occupancy.        I believe that was consistent

 with fraudulent statements and documents submitted to obtain the

 PLP as well as with documents in the Byline Bank file that



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 stated that the entire amount of the loan that was guaranteed by

 the SBA ($1,739,589) loan was “charged off” in part because a

 “Site Visit conducted on 12/19/2023 during “regular” business

 hours indicated the business was not open, doors locked, and no

 lights were on.”

       59.     The purchase agreement for the OAS PLP stated that

 ABF did business at 345 W. Foothill Blvd., Suite 5, Glendora,

 CA.   The Byline file contained a copy of a lease agreement for

 that space that stated that ABF had taken tenancy in November

 2021 (the same month that OAS had purportedly signed its lease

 for its space).        I spoke to R.N., who told me that her father,

 P.N. had owned the building at that time and that he died of

 Alzheimer’s disease in June 2021, or several months before the

 lease was signed that bore his signature.             R.N. reviewed the

 lease and told me that the lease was fake because her father did

 not, and could not, due to his death, sign the lease.               R.N. said

 that she was familiar with the tenants in the building and knew

 nothing about ABF.

       60.     In April 2025, I photographed the outside of the

 office space that was identified in the fake lease as ABF’s

 office.     The image that I took, below, depicted “American Best

 Filter, Inc.” on the left window and “Canmar Promo Corp, Inc.”

 Each was a shell and each lease was fake.             (Canmar Promo Corp,

 Inc. is the subject of another fraudulent PLP, described below.)

 Furthermore, neither space seemed consistent with that of the

 operation of businesses that claimed millions in income by for




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 selling water filtration equipment (ABF) or offering vague

 “marketing” services (Canmar).




       61.    The Byline Bank file also contained what appeared to

 be a genuine notarized, live ink signature of HARVARD on

 November 2021 in support of a guarantee of OAS’s PLP obligation.

 I have probable cause to believe, based on that and the totality

 of the evidence described herein, that HARVARD knowingly

 participated in the scheme to defraud Byline Bank.

       62.    Records for Bank of America account ending in 3882

 (the “BofA 3882”) show the following:

             a.    The signature card/account opening application

 was signed on May 12, 2020 at an Encino branch of Bank of

 America.    The signature card indicated that the account holder

 signed the signature card before a Bank of America employee on

 that same date.        The signature matches that of DIAMONDZ’s

 driver’s license.       Based on F.N.’s statement and the totality of

 the evidence in this case, I have probable cause to believe that

 DIAMONDZ actually signed this signature card (and that of



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 several other cards for accounts that she opened around the same

 time) at MCGRAYAN’s direction, knowing that doing so was to

 obtain loans that, at the least, were suspicious if not

 fraudulent.

             b.    The proceeds of the OAS PLP, $2,139,941, were

 deposited to the BofA 3882 on November 12, 2021.             The prior,

 existing balance was $64,250.

             c.    Approximately $2 million, in the form of six

 checks, ranging from $205,000 to $450,501, was withdrawn from

 the BofA 3882 within three days of the deposit of the PLP

 proceeds.    Five checks were written to “American Best Filter,

 Inc.” and one was written to “Mery Diamondz.”             Each bore a

 signature that matched that of DIAMONDZ’s driver’s license and

 the signature card for the 3882 Account.             The printing on the

 checks did not appear to match that of DIAMONDZ on at least one

 other check that bore DIAMONDZ’s signature.            Based on F.N.’s

 statement and the totality of the evidence that I have reviewed

 in this investigation, I believe that MCGRAYAN, or someone

 acting at his direction, wrote out each such check and either

 directed DIAMONDZ to sign each check or obtained pre-signed

 checks from DIAMONDZ.

             d.    One of the checks, for $450,501, was deposited

 into a Wells Fargo account in the name of “American Best Filter,

 Inc.” and ending in 7536 (the “WF 7536”).            I reviewed WF 7536

 records and learned from the signature card/account application

 that the WF 7536 was opened by DIAMONDZ seven days before the




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 BofA 3882, as her signature, date of birth, Social Security

 number, and driver’s license matched that of DIAMONDZ.

             e.    I further reviewed the account statements for the

 WF 7536 over approximately six months to trace the flow of the

 $450,501 check that had come through the BofA 3882 from the

 proceeds of the OAS PLP and learned that just under $75,000 was

 transferred (in two payments, one for $25,000 and the other for

 $49,800), online, to “Zart Art Printing,” and $49,805 to “CP

 Mobile Mechanic, Inc.,” also online, and each a shell whose

 accounts were opened around the same time, and in manner

 consistent with, that of the shell accounts opened by F.N. and

 DIAMONDZ to obtain loans.

             f.    In August 2022, and continuing monthly thereafter

 for approximately 12 months, the WF 7536 was used to layer

 funds, i.e., launder funds received from and, commonly in the

 same billing cycle, paid to, the same shells whose accounts were

 repeatedly used to layer funds.

       63.    A.M. told me that he met DIAMONDZ, for whom he

 prepared ABF tax returns, who signed the returns and told him

 that she that she was in the water filter business.

       J.    SUBJECTS MCGRAYAN, BENJAMIN, AND AYDI: Attempted Wire
             Fraud and Bank Fraud re “Alex Titan Solutions” PLP
             Loan

       64.    I have probable cause to believe that MCGRAYAN,

 BENJAMIN, and AYDI attempted to commit wire fraud and bank fraud

 against First Citizens Bank in North Carolina (“FCBNC”) by

 making false statements and submitting fraudulent documents to

 seek a $3 million PLP.      The PLP was denied.


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       65.    I obtained from FCBNC a loan file for a PLP for

 borrower “Alex Titan Solutions, Inc.,” and learned the

 following:

              a.   In January 2025, FCBNC received online an

 application for a PLP for $3 million for “Alex Titan Solutions,

 Inc.,” acting through its owner, BENJAMIN, to buy the assets of

 “Titan Solutions, Inc.,” acting through its owner, AYDI.                The

 purchase price included $2.6 million for the seller’s assets and

 $275,000 for working capital.         The seller’s stated current

 accounts receivable were $197,000.           BENJAMIN’s true name, date

 of birth, and then-residence address in connection appear on the

 PLP application.

              b.   The purchase agreement was dated October 14,

 2024, brokered and signed by MCGRAYAN, and the escrow was

 handled by Escrow Officer 1 at Escrow 1.

              c.   The file contained a 2023 IRS Form 1120 corporate

 tax return for “Titan Solutions, Inc.” dated May 6, 2024,

 bearing a signature purportedly of AYDI, and reporting $2.8

 million in revenue, $817,783 in taxable income, and more than

 $50,000 tax due and owing.          Although I did not further

 investigate this return because there was substantial, other

 evidence that this loan was fraudulent, I have probable cause to

 believe that the return was, in fact, fraudulent as it was

 consistent with the other fraudulent returns described herein.

              d.   The loan file contained a copy of a lease for

 AYDI’s business to be sold for $3 million, a small office space

 on Green street in Pasadena (the “Green Street Office”).                The



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 Green Street Office lease was written in June 2024, for one year

 at monthly rent of $638.

         66.   I interviewed T.T. who told me the following:

               a.   She is a realtor in the Pasadena area who

 advertises heavily in the Armenian community.

               b.    She received a call around early June 2024 from

 an individual seeking to rent a small office in Pasadena.                She

 assembled five or so listings, including one for the Green

 Street Office, and emailed them to the caller whose named she

 could not recall.       T.T. arranged to meet the caller at one of

 the listings and to then caravan to the others.

               c.       She met two individuals at the first of the

 listings.     She claimed that she could not identify either of

 them.    She showed them the Green Street Office and they selected

 it because it was the cheapest rent.

               d.    T.T. obtained a lease application from the

 lessor of the Green Street Office and forwarded that to the

 email address that she received from one of the individuals whom

 she met during the caravan/showings.           T.T. said she received a

 commission for her work, in an amount she could not recall, and

 that she values her reputation in the community of largely

 Armenian clients.       I showed T.T. a picture of AYDI.          T.T.

 claimed that she could not recall meeting him.

               e.   Other than meeting the two individuals at the

 Green Street Office to show them that space (and four others

 during that same time), T.T. communicated with the prospective




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 tenant(s) by email.       T.T. received from one of the two

 individuals the following:

                   i.       An “Application” for the Green Street

 Office in the name of AYDI with AYDI’s true Social Security

 number, date of birth, and driver’s license, contained a

 signature at the bottom of the application in the same printing

 and writing instrument (what appeared to be a “sharpie” or

 similar instrument) that matched that of AYDI’s driver’s

 license.    I therefore have probable cause to believe that AYDI

 executed the lease application and will refer to it as such.

                   ii.       AYDI stated in the Application that he was

 the “president” of “Titan Solutions,” the name of the business

 to purportedly be sold.        He gave its business address as the

 same as his stated residence address, an apartment in Valley

 Village, CA.     AYDI claimed that he had earned a monthly salary

 from Titan Solutions, since December 2018, of $16,000.

                   iii. AYDI also emailed with the lease application

 several other documents including purported financial statements

 for Titan Solutions.       One such purported financial statement was

 an income statement for Titan Solutions that I believe to be

 fabricated, using Quickbooks or one of many open source

 programs, based on my review of numerous other, similar, and

 bogus financial statements gathered in this investigation.

                   iv.      AYDI also emailed “Articles of

 Incorporation” for “Titan Solutions Inc.” in California, dated

 September 2018.        There was no reference to AYDI or anyone

 associated with this investigation.            The corporate agent for



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 service of process was “Registered Agents Inc.”              Based on my

 training and experience and the evidence gathered in this case,

 I believe that these corporate articles were obtained or

 purchased by MCGRAYAN and held as a shell for future use to

 fraudulently obtain loans.

                    v.     AYDI also emailed a “Statement of

 Information” (“SOI”) for “Titan Solutions” dated April 22, 2024,

 that identified AYDI as the sole officer and director from the

 same residence address that AYDI stated in the lease application

 for the Green Street Office, and that was e-signed by AYDI.                I

 know based on my training and experience that, under California

 law, a corporation must file an SOI within 90 days of

 incorporation and then annually, and that failure to file SOIs

 may result in suspension.        I reviewed records of the California

 Secretary of State and learned that no SOI was filed for Titan

 Solutions until April 22, 2024, and that it was suspended until

 April 2023.      Based on this information, F.N.’s statements, and

 on the totality of the evidence described herein, I have

 probable cause to believe that MCGRAYAN directed AYDI to sign

 and/or submit this SOI to “revive” the otherwise dormant Titan

 Solutions shell to create the appearance that it was a

 legitimate business solely for the purpose of fraudulently

 obtaining the PLP.

             f.      ADYI also emailed T.T. copies of JPMC bank

 statements for an account in the name of Titan Solutions Inc.

 ending in 0153 (the “JPMC 0153”), apparently to show that Titan

 Solutions was a going concern with legitimate income.               I



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 reviewed records for that account and learned that the JPMC 0153

 was not used for legitimate business activity but, instead, like

 the other shell accounts described herein, for money laundering:

                    i.      ADYI opened that account on May 11, 2023,

 using his true name, Social Security Number, and residence

 address (the same address he used on the Green Street Office

 lease application).        The first deposit was a $100 cash and a

 check from one of the numerous shell entities, opened by SUBJECT

 VACHYAN in the name of “Art Mart” for $9,670.99, an amount that,

 based on my training and experience and the evidence gathered in

 this case, was evidence of intent to structure and layer ill-

 gotten gains. 12

                    ii.      Between its opening in May 2023, and when

 AYDI provided JPMC 0153 statements to E.L., the Green Street

 Office landlord’s representative, the account was used solely to

 launder money in a nearly identical manner to that of numerous

 other accounts opened by SUBJECTS by receiving the deposit of

 checks from shells and then withdrawing and sending those same
 funds to those same and other similar shells’ accounts in the

 names of other SUBJECTS.

       67.    I interviewed A.S. who told me that she is a loan

 officer at FCBNC and is familiar with the Titan PLP loan file.

 A.S. told me that FCBNC ordered a site visit of the Green Street

 Office as part of loan underwriting and that she told BENJAMIN

 that he needed to be present during the site inspection.                 A.S.


       12The offense conduct involving VACHYAN and his shell,
 “Art Mart,” is discussed below.

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 told me that BENJAMIN told her that Titan Solutions did not

 occupy the space because it was being “fumigated.”

       68.    I interviewed E.L. who told me the following:

              a.   He is the representative for the owner of the

 building for the Green Street Office.

              b.   He negotiated the lease for the Green Street

 Office regarding Titan Solutions.

              c.   The tenant never actually moved into the space.

              d.   (Contrary to what BENJAMIN told A.S., the loan

 underwriter), the space was never fumigated.

       K.     SUBJECTS MCGRAYAN, ANAHIT, AND PARKER: Wire Fraud,
              Bank Fraud, and Money Laundering re “Canmar” PLP Loan

       69.    I reviewed a PLP loan file from Ameris Bank

 (“Ameris”) and have probable cause to believe that MCGRAYAN,

 ANAHIT, and PARKER committed wire fraud and bank fraud by making

 fraudulent statements and submitting fraudulent documents to

 qualify for more than $2 million in PLP funding, and then

 laundered the proceeds through shell accounts.

       70.     I reviewed the Ameris loan file and learned the

 following:

              a.   A January 2023 asset purchase agreement purported

 to show that ANAHIT’s corporation, Canmar Promo Corp (“Canmar”),

 agreed to buy the assets of PARKER’s purported company, “Mass

 Exclusive,” for $2,905,000, in the form of a $750,000 cash

 downpayment and a $2,155,000 loan.          MCGRAYAN was the broker and

 the escrow was handled by Escrow Company 1 and Escrow Officer 1.

 MCGRAYAN stood to receive a 1% “referral fee” of $22,500




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 according to the escrow instructions and an invoice that

 MCGRAYAN’s business sent to the lender, but I have probable

 cause to believe that MCGRAYAN received millions through the

 laundering of the loan proceeds via shell accounts.

             b.    A “management resume” was submitted to Ameris for

 ANAHIT as part of the underwriting process.              The resume stated

 that ANAHIT, a late ‘60’s woman of Armenian descent, had managed

 Canmar as a promotional and apparel business since 2015.                 The

 resume also stated that ANAHIT had worked for “So Cal

 Promotions” in Yorba Linda from 2007 to 2015 as a “promotions

 manager.”    I conducted an online search of So Cal Promotions and

 found it to be a genuine promotional and apparel business in

 Yorba Linda.     https://www.socalpromotions.com/.            In April 2025,

 I spoke to J.S., who told me that he is the owner of So Cal

 Promotions in Yorba Linda.           He stated that he remembers the

 names of every employee from 2007 to 2015 and, when told that

 ANAHIT had listed So Cal Promotions on her resume, J.S. said he

 had “never heard of her” and “she’s pulling your leg.”

             c.    Escrow instructions allocated the purchase price

 as follows: “Furniture, Fixtures & Equipment - $125,000.00,”

 “Goodwill - $580,000.00,” and “Covenant Not to Compete -

 $2,200,000.00.”        I know from my training and experience that the

 value placed on a “covenant not to compete” is oftentimes

 considered equivalent to the claimed asset value of a service

 business for purposes of underwriting a loan to buy a service

 business.    Based on the totality of the evidence relating to

 this transaction and that of the other PLP transactions



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 described herein, I have probable cause to believe that these

 figures were entirely made up with the intent to defraud because

 Mass Exclusive was yet another valueless shell.

       71.    Ameris required that Canmar have a minimum 10-year

 office lease.     The lender’s “closing checklist” showed that

 Canmar had to provide a copy of that ten-year building lease and

 that Canmar subordinate its interest in that lease space as

 collateral for the PLP.        I showed R.N. a copy of the lease for

 Canmar’s office space that was provided to Ameris.              The lease

 bore ANAHIT’s signature that matched that of her driver’s

 license.    As stated above, R.N. told me that her father, P.N.,

 had owned the building but had died in June 2021 of Alzheimer’s

 disease.    R.N. told me that she is familiar with P.N.’s

 signature and that, having reviewed the lease, R.N. determined

 that P.N.’s signature was forged, as was P.N.’s signature on the

 “subordination” agreement, because P.N. had died in 2021, two

 years before both documents were purportedly executed in 2023.

       72.    Ameris’s “vetting memo” contained a detailed

 spreadsheet that evaluated Canmar’s creditworthiness based on

 its federal income tax returns.         Copies of Canmar’s returns for

 calendar years 2020 and 2021 were included in the loan file and,

 according to the “closing checklist,” they were provided on

 behalf of the borrower.       IRS transcripts that appear to be

 genuine were also included in the loan file.            I reviewed those

 documents and made these observations:

             a.    The transcripts showed that the tax returns were

 not timely filed.      The 2020 tax return was filed on May 16,



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 2022, or just before the Canmar PLP loan was sought.              The 2021

 tax return was filed on February 13, 2023, or during the loan

 underwriting process (actually, just a few weeks before the loan

 was approved and funded).

             b.    Each return was prepared by A.M.          As stated

 above, A.M. stated that he received numerous client referrals

 from MCGRAYAN to prepare tax returns to support loans.              A.M.

 identified ANAHIT as one such client.          A.M. said that he

 verified ANAHIT’s identity by obtaining from her a photocopy of
 her driver’s license and Social Security card in connection with

 using the Docusign authentication platform.            A.M. provided

 copies of those identity documents to me and I confirmed via law

 enforcement databases that they were genuine and for ANAHIT.

             c.    A.M. also provided a copy of this email order to

 prepare Canmar’s tax return:




       73.    Ameris’s records included a wire transfer memo

 showing that loan proceeds of $2,242,761 were wired from the

 closing agent (a law firm in Boca Raton, FL) to City National

 Bank in Los Angeles FBO Escrow Company 1 on March 14, 2023.                On

 March 15, 2023, Escrow Company 1 wrote and mailed a check for



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 the Canmar PLP proceeds.       I traced that check to a Wells Fargo

 account ending in 0655 (the “WF 0655”) and learned the

 following:

              a.   The Canmar PLP proceeds check was deposited into

 the WF 0655 on March 16, 2023.

              b.   The WF 0655 was opened on June 10, 2020, or

 around the same time that numerous other shell accounts were

 opened by other SUBJECTS at, based on the totality of the

 evidence in this case, at the direction of MCGRAYAN for the sole

 purpose of fraudulently facilitating loans.

              c.   The signature card/account application stated

 that PARKER was the “owner with control of the entity” of Mass

 Exclusive, further stated his true date of birth, Social

 Security number, and driver’s license, and further indicated

 that PARKER’s identity at the time of opening the account was

 determined upon the bank employee’s review of PARKER’s Social

 Security card and driver’s license.           I compared the signature on

 that card to that of PARKER’s driver’s license and believe that

 they were signed by one and the same person.            Again, I have

 probable cause to believe that PARKER personally opened this

 account at MCGRAYAN’s direction, knowing or having the strong

 suspicion that the account was to be used solely to fraudulently

 obtain loans.

              d.   The activity in the WF 0655 was entirely

 consistent with the money laundering “layering” activity in the

 numerous other accounts described in this affidavit, including

 showing transfers from that account in amounts consistent with



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 the transfers by and between shells’ accounts and then deposits

 from the same shells, as shown in these excerpts from the March

 2023 WF 0655 statement:




       74.    Substantially all of the Canmar PLP proceeds were

 transferred out of the WF 0655 to other shells’ accounts within

 less than 60 days with several interspersed $1,000 ATM cash

 withdrawals that I have probable cause to believe were, in whole

 or in part, ANAHIT’s cut of the fraudulent proceeds.

       L.    SUBJECTS MCGRAYAN and STAVROS: Attempted Wire Fraud
             and Bank Fraud re “Stavros Auto Group” PLP Loan

       75.    I have probable cause to believe that MCGRAYAN and

 STAVROS attempted to obtain nearly $3 million in PLP funds by

 using fabricated bank statements that were substantially similar

 to the fabricated bank statements submitted for the Dynamic PLP

 and GDI PLP frauds, described above.

       76.    I reviewed a loan file from First Internet Bank of

 Indiana (“FIBI”) and learned the following:




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             a.    In June 2024 FIBI received a written inquiry to

 make a PLP on behalf of “Stavros Auto Group Inc.” for $2,855,000

 to purchase a business to be designated.             The loan was not

 ultimately funded.

             b.    An individual identified as STAVROS signed and e-

 signed FIBI’s “personal eligibility questionnaire” that required

 that he provide and certify personal identifying information.

 The document had STAVROS’s true Social Security number and date

 of birth.    His live-ink signature matched that of his genuine

 driver’s license.      FIBI’s file also contained a color photocopy

 of STAVROS’s “Passport Card,” with his photo that matched that

 on his driver’s license, which I verified through law

 enforcement data basis to be genuine.          I will, therefore,

 hereafter refer to STAVROS as the borrower.

             c.    STAVROS represented to FIBI that he currently

 operated “Stavros Auto Group Inc.” under the fictitious business

 name of “Tru Sight Auto Group” at 17425 Chatsworth St., Suite

 102-B, Granada Hills, CA 91344. 13

             d.    To satisfy FIBI’s inquiry that STAVROS show

 seasoned funds for the $345,000 cash “injection” (i.e.,

 downpayment), STAVROS sent FIBI a photocopy of a statement for a

 US Bank account ending in 1844 (the “USB 1844”) for the period

 of July 13 through August 13, 2024.           The statement identified

 the account holder as “Samuel Stavros” at 17425 Chatsworth St.,

       13I know from my investigation that this address has been
 fraudulently used by Arsen Terzian, aka Steven Terzaki, whose
 offense conduct is described in the concurrently submitted
 complaint and affidavit for a warrant for his arrest. (See
 Exhibit A.)

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 Suite 102#B, Granada Hills, CA,” account ending in 1844 (the

 “USB 1844”).     The statement showed a beginning balance of

 $48,954 and a deposit of $490,000 on August 13, 2024.

             e.    I obtained genuine bank statements from US Bank

 for the USB 1844.       I learned the following:

                   i.     STAVROS opened the account on August 17,

 2020, using is true Social Security number and date of birth.

 His signature matches that of his driver’s license.                The account

 was opened around the same time as that of several other shells

 (or, in this case and in F.N.’s case, individually but,

 similarly, at the direction of MCGRAYAN).

                   ii.     For the same period (July 13 through August

 13, 2024), the genuine statement showed a deposit on August 13

 for “90,000,” (the genuine statement did not have a “dollar”

 sign directly in front of that number).               The statement that had

 been provided to FIBI in support of the PLP request showed a

 deposit on the same date of “490,000,” evidencing that a

 fabricated statement had been provided to FIBI.               The fabricated

 statement (on the left) and the genuine statement (on the right)

 are compared below:




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       M.     SUBJECTS MCGRAYAN and MUSAYELYAN: False Claim, Wire
              Fraud, and Money Laundering re GUM EIDL

       77.    I have probable cause to believe that MCGRAYAN and

 MUSAYELYAN schemed to defraud the SBA through fraudulent

 representations and fraudulent documents to obtain an EIDL on

 behalf of MUSAYELYAN’s shell, GUM, the same shell that was three

 years later involved in the GDI PLP fraud, and then laundered

 the proceeds in an identical manner.

       78.    I reviewed SBA files for the GUM EIDL and learned the

 following:

              a.   On March 30, 2020, within a week of the

 nationwide Covid-19 lockdown, a EIDL application for $139,000

 was submitted for GUM.

              b.   Like substantially all of the hundreds of EIDL

 files I have reviewed, the application was submitted via SBA’s

 online portal.     The application identified MUSAYELYAN as the

 applicant’s contact and stated that he was GUM’s “CEO,” that GUM

 was engaged in “retail” business activity, and that MUSAYELYAN

 was GUM’s “100%” owner.       The application further provided




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 MUSAYELYAN’s true date of birth, Social Security number, and the

 same residence address to which the GUM PLP loan proceeds were

 mailed years later, as described above.

             c.     The EIDL application claimed that GUM was

 established in 2008, that its 2019 gross revenues were $845,000,

 and that the EIDL proceeds should be wire-transferred to a JPMC

 account ending in 8927 (the “JPMC 8927”).

             d.     A person who identified himself as MUSAYLEYAN

 signed the standard form Loan Authorization and Agreement
 (“LA&A”) via the DocuSign online authentication platform on May

 30, 2020, in which he represented that GUM would, in pertinent

 part, “use all the proceeds of this [l]oan solely as working

 capital to alleviate economic injury caused by disaster

 occurring in the month of January 31, 2020[.]”

             e.     I obtained from JPMC via subpoena, and reviewed,

 genuine records for the JPMC 8927 and learned the following:

                   i.     The GUM EIDL proceeds ($138,900, net of

 fees) were deposited into that account on June 8, 2020, as shown

 by this excerpt from a genuine account statement:




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             f.    The beginning balance for that period (May 30 to

 June 20, 2020), shown above, was $17,633.            The balance beyond

 the deposit of the EIDL proceeds substantially consisted of

 deposits of electronic checks from a variety of the same shells

 that I have observed were the payors and payees of hundreds of

 instances of money laundering “layering” throughout this case.

 Below is a sampling of the deposited checks from shells:




             g.    Many of the deposits were in odd amounts within

 $1,000 or so, or less, of $10,000, indicating, based on my

 training and experience, that the parties to the transactions

 broke up the deposits to avoid reporting the transactions to the

 IRS.

             h.     Consistent with the numerous other money

 laundering/layering transactions described in this affidavit,

 substantially all of the EIDL proceeds were laundered by online

 withdrawal transfers to accounts in the names of other shells,

 as shown by an excerpt of the JPMC 8927 statement for the period

 in which the EIDL proceeds were deposited:




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       79.     None of the transfers either into or out of this
 account, both before credit for the EIDL proceeds or after, were

 consistent with the required use “solely as working capital to

 alleviate economic injury caused by disaster occurring in the

 month of January 31, 2020[.]”

       N.     SUBJECT MUSAYELYAN: False Claim, Wire Fraud, and Money
              Laundering re Personal EIDL

       80.     On June 30, 2020, an EIDL application for $150,000

 was submitted for MUSAYELYAN doing business as “Global Ultimate

 Systems” (the “GUS EIDL”).          The application was submitted via

 SBA’s online portal.      The application identified MUSAYELYAN as

 the applicant’s contact by his phone number at the same

 residence address for MUSAYELYAN for the GUM EIDL, described

 above.     The application further stated that GUS was a sole

 proprietorship of MUSAYELYAN, that GUS was established in 2018,

 and that its 2019 gross revenues were $1,258,900.

       81.     The GUS EIDL was funded on July 2020 for $149,900

 (net of $100 fees).      I reviewed US Bank records for an account

 ending in 4221 (the “USB 4221”) and learned the following:




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             a.    MUSAYELYAN was the sole signatory and

 electronically opened the account September 2018.

             b.    The EIDL proceeds were deposited into the USB

 4221 Account on July 27, 2020.        The preceding balance was

 $11,723.

             c.    Approximately $120,000 in checks were written

 against the USB 4221 Account within 60 days of the EIDL deposit,

 including nearly $80,000 within less than 30 days, many in odd

 amounts just under $10,000.         These checks were, as I have

 observed in several other accounts as part of this

 investigation, consistent with the intent to structure.               Other

 deposits were substantially de minimus and not consistent with

 regular business income.

       82.    I know from my training and experience that EIDL

 borrowers frequently sought EIDL modifications to obtain more

 money related to the same business and based on the initial EIDL

 application’s representations.         While initial EIDLs were

 approved primarily on the basis of information stated by the

 borrower or borrower’s authorized representative, the SBA

 required that EIDL modification applicants provide more

 information and documentation to support their applications.

 Such documents commonly included government-issued

 identification documents and documents to verify income or

 financial condition such as genuine federal income tax returns.

       83.    In October 2021, an application was submitted to

 increase (modify) the GUS EIDL by $788,800.            The SBA file for

 the modification contained the following:



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              a.   Images of a driver’s license and passport for

 MUSAYELYAN that I matched those identifiers in law enforcement

 databases.

              b.   An SBA Form 413 “Personal Financial Statement”

 that I am familiar with and I know was commonly required by SBA

 for borrowers seeking EIDL modifications.            Above the signature

 that matched that of MUSAYELYAN’s driver’s license and passport,

 and which stated his true Social Security number, the statement

 claimed MUSAYELYAN’s annual salary was $229,434.

       84.    The Loan Agreement & Authorization (“LA&A”) for the

 EIDL modification that was signed electronically by “Taron

 MUSAYEYLAN” on January 5, 2022.

       85.    I know that the standard form “Rapid Finance

 Application” for EIDLs includes a “Note” section that

 chronologically logs activities by SBA representative, date, and

 time status or progress of vetting an EIDL.            The “Note” for the

 GUS EIDL contained chronological entries for contacts between

 the SBA and a person claiming to be MUSAYELYAN that indicated

 that the SBA, as part of EIDL underwriting, emailed MUSAYELYAN

 at the email account identified on the EIDL application a

 request that he provide his 2018 and 2019 tax returns and that,

 days later, the SBA received 2018 and 2019 tax returns in the

 name of MUSAYELYAN.

       86.     The SBA’s file included what appeared to be

 unsigned, “self-prepared” 2018 and 2019 calendar year federal

 income tax returns for MUSAYELYAN, bearing MUSAYEYLAN’s true

 Social Security number and residence address.             Each return



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 stated that MUSAYELYAN was engaged in “IT Consulting” under the

 fictitious business name of GUS (as opposed to under a corporate

 name), with his principal place of business as his true

 residence, and that his gross receipts were $1,284,942 for 2019.

 The return reported $70,841 in tax due and owing.

       87.    IRS transcripts show that MUSAYELYAN’s 2018 and 2019

 tax returns that SBA received were filed in late 2021 and that

 no income taxes were actually paid.           Based on my training and

 experience, and review of evidence gathered in this

 investigation including that the MUSAYELYAN tax returns appear

 to have been prepared in two days and solely because the SBA

 required them for an EIDL modification, I believe that these

 returns were false.

       88.    The GUS EIDL application identified a Wells Fargo

 bank account ending in 2739 (the “WF 2739”) to receive the EIDL

 modification proceeds.      I reviewed records for the WF 2739 and

 learned, among other things, that out of those proceeds $400,000

 was transferred in days to a Wells Fargo account ending in 2532

 in the name of “Taron Musayelyan DBA Global Ultimate

 Management.”     I reviewed the signature card for that account and

 learned that MUSAYELYAN had opened that account with his genuine

 Social Security number and date of birth, in a manner consistent

 with that of the other SUBJECTS who opened shell accounts at

 MCGRAYAN’s direction and solely to facilitate fraudulent loans

 whose proceeds were laundered and not used as represented.




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       O.     SUBJECT VACHYAN: False Claim, Wire fraud, Bank Fraud
              (PPPL only),and Money Laundering re “Art Mart” PPP and
              EIDL

       89.     I have probable cause to believe that VACHYAN schemed

 to defraud the SBA and a lender by making fraudulent statements

 and submitting fraudulent documents to obtain a PPPL and EIDL

 for a fake art dealer/shell called “Art Mart, Inc.” (“Art

 Mart”).     The proceeds of these fraudulently obtained loans were

 deposited into an account controlled by VACHYAN and disbursed in

 a manner consistent with that of the other shell accounts, thus

 supporting probable cause to believe that VACHYAN fraudulently

 participating in seeking the loans to launder their proceeds

 instead of for legitimate business purposes.

       90.     The address for Art Mart that was provided on PPPL

 and EIDL applications, discussed below, and on bank statements,

 was 352 W Chevy Chase Dr Apt C, Glendale, CA 91204.              I searched

 online for a description of that property, and conducted a site

 visit there, and observed that the property is a small, multi-

 unit apartment building in a residential area.             I saw nothing in

 the nature of a “retail store [] that [according to the Internet

 description at www.mapquest.com/us/california/art-mart-inc-

 427506994, as of April 25, 2025] specializes in offering a wide

 selection of art supplies and materials[.]”

       91.     SBA files and records that I reviewed from US Bank

 show that, on June 5, 2020, an application was submitted for a

 $494,677 PPPL in the name of “Art Mart, Inc. (”Art Mart”).

 Twelve days later, an application was submitted for an EIDL in

 the same name.



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       92.    The applications identified the same owner, VACHYAN,

 and had the same address and the same contact information.                The

 PPPL application and promissory note that were submitted to

 lender US Bank were e-signed by “Johan Vachyan” on June 9, 2020.

       93.    The PPPL application claimed that Art Mart was an

 “art dealer” with “payroll” of 35 employees.             The EIDL claimed

 that Art Mart had 35 employees and 2019 gross revenue of $3.9

 million.

       94.    The EIDL application designated a US Bank account

 ending in 0638 (the “USB 0638”) to receive a wire transfer of

 EIDL proceeds.     I received and reviewed records of US Bank

 obtained by subpoena and saw a signature card/account

 application dated September 24, 2017, that identified VACHYAN as

 the sole signatory and showed a signature that matches that of

 his driver’s license.      I also compared that signature card and,

 in particular, VACHYAN’s signature on it, to two other US Bank

 signature cards for US Bank accounts (the “USB 2692” and the

 “USB 3955”) whose records were provided by US Bank along with

 those of the 0638 Account.          The USB 2692 signature card was for

 a personal account for VACHYAN and his wife (whose identity and

 marriage to VACHYAN I have verified from law enforcement

 databases), opened in 2016, and identified VACHYAN by his true

 date of birth and Social Security number and stated that he was

 employed by “G&H Medical Transportation.”             The signature card

 for the USB 3955 identified VACHYAN as the “sole proprietor” of

 “Mart Art and Antiques” and identified VACHYAN by his true




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 Social Security number.       The signatures on all three signature

 cards appear to be written by one and the same person: VACHYAN.

         95.   I obtained EDD records and learned that Art Mart had

 a single employee for a single quarter within the time period

 stated in the EIDL and PPPL applications.            I also obtained a

 response from the IRS to a Fact of Filing request and learned

 that Art Mart had never filed IRS Forms 941 or 940 to report

 wages and taxes withheld for employees.

         96.   The PPPL application was approved and its proceeds,

 $494,677, were deposited into the USB 0638 Account on June 9,

 2020.    I reviewed the USB 0638 records to trace the use of PPP

 proceeds and learned the following:

               a.   There were numerous checks bearing a signature

 that matched that of VACHYAN’s driver’s license and the

 signature card for the account.         None of the checks was

 consistent with that of paying for payroll of 35 employees as

 represented on the Art Mart EIDL, as described above.

               b.   Instead, the numerous checks were in the

 thousands, with no evidence of deduction for withholding or

 payment of payroll taxes, including checks dated June 10 and 11,

 2020, for $17,100 and $16,900, respectively, to H.G.; June 12

 and 13, 2020 for $17,800 and $21,000, respectively, to I.T.

 (whom I have determined to be a neighbor of SHAW and to whom

 SHAW wrote checks to be laundered from fraudulent loan




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 proceeds 14); June 10, 2020, for $29,310 to “Swift Vending LLC,” a

 purported entity that I believe was a shell; June 13 and 14,

 2020, for $9,768 and $9,600, respectively, to A.M. and A.K.,

 amounts that, as described above, are consistent with

 structuring; and June 24, 2020, for $19,600 to SHAW, about whom

 I have found no evidence that he was either an artist whose

 works were marketed by Art Mart or that he was employed by Art

 Mart.

         97.   I reviewed federal income tax returns obtained from

 L.F. by subpoena.      L.F. was a tax preparer who provided copies

 of the returns that he prepared for numerous shells identified

 in this affidavit, including Art Mart.           I specifically reviewed

 the Art Mart federal income tax return for calendar year 2019

 that L.F. provided and observed that the return reported gross

 income of $85,226 for 2019.         The return also reported nothing

 for the cost of labor (i.e., payroll).

         98.   In August 2021, a PPP forgiveness application was

 submitted under the electronic signature of VACHYAN.              The

 forgiveness application stated that Art Mart paid 35 employees

 from the time of the deposit of the PPPL proceeds to October 31,

 2020, and that Art Mart had 38 employees as of August 2021 for

 $856,451 “payroll and non-payroll costs.”            As stated above,

 there does not appear to be any legitimate evidence (e.g., EDD




         SHAW’s related offense conduct is described in the
         14
 concurrently submitted complaint and affidavit against SHAW and
 others for fraud in connection with pandemic stimulus
 applications.

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 or IRS records) for payroll expenses that were claimed in the

 forgiveness application. 15

       P.     SUBJECT NIKOGOSYAN: False Claim, Wire Fraud, and Money
              Laundering re “CM” EIDL

       99.    I have probable cause to believe that NIKOGOSYAN

 knowingly participated in obtaining and then laundering the

 proceeds of more than $2 million in EIDL funding by, among other

 things, submitting phony tax returns prepared solely to obtain

 funds for a shell called “CM General Auto Electric Supplies,

 Inc.” (“CM”).

       100.    On March 30, 2020, days after the Covid-19 lockdown

 commenced, an EIDL application was submitted online on behalf of

 CM.   NIKOGOSYAN was identified as CM’s sole owner, including by

 his then true (per law enforcement databases) residence address,

 correct Social Security number, and date of birth.              The

 application stated that CM was opened in 2012, had “1” employee,

 and that its 2019 gross revenue was $929,000.

       101.    In connection with evaluating CM’s EIDL, SBA sought

 and received an email in May 2020 from an individual who

 identified himself as NIKOGOSYAN and provided what I believe,

 from law enforcement databases, was a copy of his Permanent

 Resident (“Green”) card.       Law enforcement databases that I have




       15Because I have probable cause to believe that MCGRAYAN
 and VACHYAN defrauded USB and the SBA by way of fraudulent
 statements, I have not discussed the use of proceeds. I
 reviewed the bank statements showing the use and tracing of
 those proceeds and have probable cause to believe, as I have
 discussed several times herein, that those accounts show misuse
 and laundering of those proceeds.

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 checked have no record that NIKOGOSYAN reported that his Green

 card was lost, stolen, or misused.

       102.    In early 2022, NIKOGOSYAN requested an EIDL

 modification on behalf of CM, to increase its EIDL by more than

 $1.5 million.     The “Note” section on the EIDL modification

 application indicated that the process lasted several months, in

 part based on the time taken to respond to the SBA’s request for

 documents to support the modification request.

       103.    Among other requests as reflected in the EIDL

 application “note” section, the SBA requested and received

 copies of NIKOGOSYAN’s driver’s license and Social Security

 card, both of which I believe, based on my review of law

 enforcement databases, were genuine.

       104.    The SBA further requested that CM submit tax returns

 including for the calendar year 2021.          I reviewed a copy of that

 return that was submitted on behalf of CM and noted the

 following:

              a.   The return was prepared by A.M.

              b.   A.M. dated the return “03-09-2023.”           I know from

 interviewing A.M. that he said that his custom and practice was

 that he dated returns the same date that he completed them and

 the client signed them.       Thus, this return was untimely.

              c.   Moreover, as A.M. had said that his MCGRAYAN

 Clients included NIKOGOSYAN, this return, like all others, was

 prepared at MCGRAYAN’s and NIKOGOSYAN’s request solely to

 support a loan application.




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       105.    A.M. had also provided documents in connection with

 his interview.     Those documents included photocopies of

 NIKOGOSYAN’s driver’s license and Social Security card because,

 as A.M. stated, he needed to verify the identity of his clients

 if they intended to sign their returns via DocuSign.              The 2021

 CM return in the SBA file, described above, bears NIKOGOSYAN’s

 DocuSigned signature.      Those documents also included 2018 and

 2019 CM tax returns that each bore NIKOGOSYAN’s live ink

 signature.    Copies of those returns were also provided to the

 SBA in connection with vetting a CM EIDL modification.              A.M.

 confirmed that NIKOGOSYAN signed those returns in A.M.’s

 presence along with standard IRS Forms 8879 that directed A.M.

 to e-file those return.       The 2018 and 2019 returns were

 similarly untimely and, I believe, prepared solely to

 fraudulently facilitate an EIDL modification.             Each of those

 returns, along with the 2021 returns, reported millions in

 revenue and tens of thousands in taxes due and owing.              According

 to the IRS transcripts for those returns, found in the SBA file,

 no taxes were paid.

       Q.     SUBJECT BORIS: False Claim, Wire Fraud, Bank Fraud,
              and Money Laundering re “CP Mobile Mechanics” PPPL

       106.    I have probable cause to believe that BORIS

 fraudulently schemed to obtain a $2 million PPPL and then

 laundered those funds to conceal the fraud.

       107.    I reviewed SBA records and learned the following:

              a.   On March 30, 2020 an EIDL was applied for in the

 name of “CP Mobile Mechanics Inc.” (“CPMM”).            The application




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 identified BORIS by his true date of birth and Social Security

 number and as CPMM’s “CEO” and “100%” owner.

              b.   The EIDL application stated that CPMM’s gross

 revenue for 2019 was $1,275,000.

              c.   The EIDL application identified a Bank of America

 account ending in 3396 (the “BofA 3396”) for deposit of the EIDL

 proceeds.

              d.   The EIDL “note” section shows an entry on May 19,

 2020, that an individual on behalf of CPMM spoke to an SBA

 representative.        The individual verified that the EIDL

 application was valid.       The SBA representative advised that the

 individual needed to provide a copy of his “US Permanent

 Resident” card.        I reviewed a U.S. “Permanent Resident” card in

 the SBA records for this EIDL and I believe it to be genuine and

 for BORIS.

              e.   That same day, an individual who identified

 himself as BORIS electronically signed a standard EIDL LA&A on

 behalf of CPMM and certified that CPMM would “use all the

 proceeds of this [EIDL] solely as working capital to alleviate

 economic injury caused by the [Covid-19 pandemic] occurring in

 the month of January 31, 2020[.]”

              f.   On May 20, 2020, the day after SBA confirmed

 BORIS’s identity via his Permanent Resident card, SBA wired

 $143,900 to the BofA 3396.

              g.   I reviewed Bank of America records for the BofA

 3396 and learned the following:




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                   i.     The proceeds of the CPMM EIDL described

 above were deposited into the BofA 3396 on May 20, 2020.

                   ii.     Within about 60 days, substantially all of

 the EIDL proceeds were withdrawn via checks payable to several

 of the same shells described in this affidavit.              I noted no

 payments to automobile parts suppliers, for equipment,

 utilities, or to individuals that appeared to be associated with

 real mechanic work.

       108.     Sometime after CPMM obtained the initial EIDL

 funding, CPMM sought two EIDL modifications that increased the

 total amount of CPMM’s EIDL to just under $2 million:

              a.   On August 4,2021, an LA&A was e-signed by “Boris

 Sahakyan” to increase the initial EIDL to $500,000.               A net check

 in the amount of $356,000 was wired to the BofA 3396 on August

 16, 2021.

              b.   On October 27,2021, an LA&A was e-signed by

 “Boris Sahakyan” to increase the EIDL to $1,970,000.               A net

 check in the amount of $1,470,800 was wired to the BofA 3396

 Account on November 3, 2021.

              c.   As a condition to receiving the EIDL modification

 funds, CPMM was required, among other things, to authorize SBA

 to verify that CPMM had, in fact, filed federal income tax

 returns.     IRS transcripts that the SBA obtained showed that CPMM

 untimely filed its 2019 calendar year federal income tax return

 (on March 4, 2021).       Based on my training and experience, and

 the evidence gathered in this case, I have probable cause to

 believe that the untimely filed return was filed solely to



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 fraudulent obtain EIDL funding and not to comply with income tax

 laws.

         109.    I obtained from JPMorgan Chase Bank, and reviewed,

 records for a “second draw” PPP obtained by CPMM, and records

 for an account ending in 8509 in the name of “CP Mobile

 Mechanic, Inc.” (the “JPMC 8509”), and learned the following:

                a.   On March 24, 2021, an application was submitted

 to JPMC for a “second draw” PPP on behalf of CPMM.              I know that

 a “second” or later draw PPP was similar to an EIDL modification

 as later draws are provided to the same entity upon newly

 established need.      A “first draw” PPP had been authorized in

 summer 2020 by Celtic Bank for a $23,437.50 PPP based on an

 application e-signed by “Boris Sahakyan” as “president” of CPMM.

                b.   The “second draw” application was also e-signed

 by “Boris Sahakyan” and sought $1,087,525 for “payroll costs”

 for “35” employees.      The application stated that CPMM had

 $435,010 in monthly payroll costs as of February 4, 2021.

                c.   JPMC required that second draw PPP applicants

 submit copies of their filed federal income tax returns.               CPMM’s

 2019 calendar year federal income tax return submitted to JPMC

 reported 2019 calendar year gross revenue as $7,252,000 or about

 five times the gross revenue that CPMM had reported to the IRS

 on which the second EIDL modification was based, as described

 above.    To be clear, I believe there is probable cause to

 believe both returns were fraudulent because the returns were

 obtained solely to fraudulently facilitate loans.




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             d.    The JPMC 8509 into which the PPPL second draw

 funds were deposited was opened on May 6, 2019, or about five

 days after BORIS assumed the CPMM corporate shell and at a time

 consistent with when other shell accounts were opened as

 described herein.

             e.    The signature card/account application identified

 BORIS by his true driver’s license and Social Security numbers

 and bore what I believe was a live ink date and signature that

 was consistent with that of BORIS’s signature on his driver’s
 license.

             f.    Proceeds for the second draw PPP were deposited

 into the JPMC 8509 on March 26, 2021.          The prior balance was

 $151,605, so I have traced the use of the proceeds on a “first-

 in, first-out” basis that assumed that the prior balance was

 from legitimate sources.       There were three deposits that, based

 on the totality of the evidence described in this affidavit, I

 believe were deposited with the intent to be laundered.               Namely,

 there were three checks from shell “American Best Filter, Inc”

 from an account whose signatory was SUBJECT DIAMONDZ (for

 $9,000, $8,956, and $7,850) just days apart and clearly evidence

 of intent to structure as well as to money launder, as shown by

 these excerpts from those account records:




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              g.   Nonetheless, even by crediting those funds as

 legitimate, substantially all of the PPPL second draw proceeds
 were spent in approximately 60 days by withdrawals in the form

 of checks or online transfers to the same bogus shell entities

 as well as to SUBJECT MUSAYELYAN in the form of two $50,000 wire

 transfers to SUBJECT MUSAYELYAN in Armenia notated as “software

 technology expenses,” as shown by this excerpt from those

 account records:




       110.    Finally, EDD records showed only “no record” for any

 payroll paid by or for employees of either CPMM or BORIS for the

 time period covered by the PPPL draws.

       R.     SUBJECT DIAMONDZ: False Claim, Wire Fraud, and Money
              Laundering re “American Best Filter” EIDL

       111.    In addition to DIAMONDZ’s offense conduct relating

 to the OAS PLP, described above, I have probable cause to

 believe that DIAMONDZ schemed to commit wire fraud using the

 same common plan for the other fraudulent activity described

 herein, namely, by opening multiple bank accounts knowing that




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 such accounts would be used to obtain loans and that such

 accounts would be manipulated by others, by participating in

 submitting fraudulent statements and documents to obtain an

 EIDL, and then by laundering fraud proceeds through her multiple

 accounts.

       112.    I reviewed SBA records and learned the following:

              a.   On June 16, 2020, an EIDL application was

 submitted online on behalf of “American Best Filter, Inc.”

 (“ABF”), approximately three years before ABF (and DIAMONDZ)

 were associated with the fraudulent PLP transaction described

 above.   The application identified ABF’s “business phone” as

 matching that on a JPMC account signature card for the first of

 multiple bank accounts that DIAMONDZ had just opened (as more

 fully described below).       The EIDL application also provided the

 same business address for ABF on each of the signature cards for

 those bank accounts (and that matched that of DIAMONDZ’s

 residence address on her driver’s license).

              b.   The application stated that DIAMONDZ took over

 ownership of ABF on “1/1/2019,” that there was “1” employee for

 this “retail” business, and that ABF’s 2019 gross revenue was

 “$1,321,365.”     Based on the totality of the evidence that I have

 reviewed in this case, including ABF’s bank records, discussed

 below, and the file regarding the ABF PLP, discussed above, I

 believe that the gross revenue figure provided on the EIDL

 application was fraudulent and that ABF was simply a shell

 designed to defraud and launder money.




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              c.   The LA&A and EIDL promissory note were e-signed

 by “Mery Diamondz” on June 24, 2020.           The LA&A, like all others

 during this time period, required that “[b]orrower will use all

 the proceeds of this Loan solely as working capital to alleviate

 economic injury caused by disaster occurring in the month of

 January 31, 2020[.]”

              d.   SBA approved the ABF EIDL and funded it in the

 amount of $149,900 on June 24, 2020.           The proceeds were wire-

 transferred to a JPMC account ending in 0831 (the “JPMC 0831”).

 I reviewed the records for that account and learned that:

                   i.     from the time of its opening (March 2020) to

 the date of the EIDL proceeds’ deposit, the account was used,

 like all other shells, to move money between shells based on the

 timing, means of deposit, and other substantial similarities in

 the accounts’ transactions;

                   ii.     substantially all of the ABF EIDL proceeds

 were transferred out for laundering through other shell

 accounts, and

                   iii.     none of the EIDL proceeds was used as

 represented or intended, i.e., for “working capital” for ABF.

       113.    I reviewed bank records that show that DIAMONDZ

 began her participation in the above-described fraudulent scheme

 in substantially the same manner as other shell “owners,” by

 opening multiple bank accounts at about the same time in the

 name of her shell, ABF:

              a.   On March 23, 2020, less than two weeks after the

 Covid-19 lockdown commenced, DIAMONDZ opened JPMC account ending


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 in 0831 in the name of ABF (“JPMC 0831”).            The signature card

 stated ABF’s EIN as XX-XXXXXXX, which I know from reviewing an

 EIN origination schedule provided to me by a co-case agent, was

 obtained between May 13, 2019, and March 20, 2020, listed

 DIAMONDZ’s then residence (per her driver’s license) as ABF’s

 business address, identified DIAMONDZ as ABF’s “president,” and

 contained her true Social Security number and a signature that I

 believe matches that of her genuine driver’s license.

             b.    The next day, DIAMONDZ opened Bank of the West

 account ending in 2534 at a branch in Encino, also in the name

 of ABF, at the same address she had provided the day before to

 JPMC at a bank branch also located in Encino, by providing her

 true date of birth, and Social Security and driver’s license

 numbers, and with a signature that I believe matches that of

 both her driver’s license and the JPMC signature card, above.

             c.    On May 5, 2020, DIAMONDZ opened Wells Fargo

 account ending in 7536 in the name of ABF (the “WF 7536”), using

 the same address, identifying herself as the “owner with control

 of the entity,” claiming $100k as ABF’s “annual gross sales”

 from “administrative, support, waste management and remediation

 services” and “water filtering and clean up,” by providing her

 true date of birth, Social Security number, and driver’s license

 number; and with a signature that I believe matches that of the

 other signature cards, above, and her driver’s license.

             d.    On May 12, 2020, DIAMONDZ signed a signature card

 for a personal Bank of America account ending in 1383 in her

 alias name, DIAMONDZ, and also stating her given name, Mery



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 Babayan, by providing her true Social Security number.              The

 signature card appeared to be an update as the records for the

 same account contained multiple signature cards dating back to

 the opening of the account in 2015.           One such update was dated

 February 23, 2017, contained her signature that I believe

 matches that of all other signature cards, discussed above, and

 stated that her identity was confirmed by “US DRIVER LICENSE

 W/PHOTO.”

             e.    On July 24, 2020, DIAMONDZ opened BBVA (later

 owned by PNC) bank account ending in 4277 in the name of ABF.

 The signature card contains the same EIN but no personal

 identifying information for DIAMONDZ.          It does contain a

 signature which I believe matches that of all other signature

 cards and her driver’s license, discussed above.

             f.     Each of these accounts was used to moved shell

 account funds like the other shell accounts described herein.

 For example, the initial deposits into the WF 7536 consisted of

 two “Edeposit(s)” in amounts that I believe were consistent with

 that from shell accounts, as shown by this excerpt of the May

 2020 WF 7536 statement:




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       114.    My belief is supported not only by the totality of

 evidence of similar activity in other shell accounts, some of

 which is described above, but by the use of the WF 7536 account

 the very next month to launder funds to those same shell

 entities, as shown the following excerpt of the June 2020 WF

 7536 statement, and because the account went substantially

 dormant the next month (July 2020):




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  V. ADDITIONAL PROBABLE CAUSE IN SUPPORT OF REQUEST FOR ISSUANCE
                           OF SEARCH WARRANTS

       A.     MCGRAYAN Resides and Does Business at the SUBJECT
              PREMISES

       115.    Queries in law enforcement databases revealed that

 MCGRAYAN resides at the SUBJECT PREMISES, including that his

 driver’s license identifies the SUBJECT PREMISES as MCGRAYAN’s
 residence.    On April 29, 2025, I conducted surveillance of the

 SUBJECT PREMISES and saw a Lexus parked in the driveway of the

 SUBJECT PREMISES within approximately 15 feet of the front door

 of that residence.      IRS-CI SA Geff Clark told me that he

 conducted surveillance of the SUBJECT PREMISES on April 28,

 2025, and saw the same Lexus at the same location and noted its

 California license, no. 9LEV135.         A query of that license number

 in law enforcement databases revealed that the vehicle is

 registered to MCGRAYAN at the SUBJECT PREMISES.



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       116.    I reviewed a March 12, 2025 Statement of Information

 that was submitted online to the California Secretary of State

 that identified MCGRAYAN as the CEO of Exceed Companies whose

 “principal” and “mailing” address was the SUBJECT PREMISES.

       117.    I reviewed an SBA application for a disaster loan

 that was submitted on January 10, 2025, for benefits related to

 the Los Angeles county fires under the name of Exceed Companies

 LLC and e-signed by “William Mcgrayan.”              The e-signature was

 verified by the Docusign authentication platform as that of

 MCGRAYAN.    I used an open-source IP address lookup and

 geolocator platform to determine the location of the IP address

 on the Docusigned SBA application.          The location was identified

 as “Tujunga canyon” whose geo-coordinates approximate those of

 the SUBJECT PREMISES.      The application listed the SUBJECT

 PREMISES as MCGRAYAN’s mailing address.              The application also

 listed two phone numbers, which I know from searching law

 enforcement databases are cellular (mobile) phone numbers: (818)

 730-7570 and (818) 570-9030.        Open sources show that the latter

 number was subscribed to by “Annie Mcgrayan” and was the office

 number for Exceed Companies, which I know from public records

 was the LLC owned by MCGRAYAN and that was involved in the

 fraudulent PLP transactions described above.             Open sources show

 that the former number is for Annie Mcgrayan, aka Ani Ghazaryan,

 whom I know from law enforcement databases to be related to

 MCGRAYAN and who also resides at the SUBJECT PREMISES.




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       B.     Training and Experience Regarding the Offense Conduct

       118.     Based on my training and experience, and information

 obtained from other law enforcement personnel who investigate 18

 U.S.C. §§ 286/287 (conspiracy to defraud the government with

 respect to claims/make false claims), 1343 (wire fraud), 1344

 (bank fraud), 1956(h) (money laundering conspiracy), 1956(a)(1)

 et seq. (money laundering), 1957 (engaging in monetary

 transactions in property derived from specified unlawful

 activity), and/or 31 U.S.C. §§ 5313, 5324 (structuring), I know

 the following:

              a.   Individuals involved in committing such offenses

 must keep evidence of their crimes, such as accounts used in the

 scheme, simply to keep the scheme going.             Much of this evidence

 is now stored on digital devices such as computers and

 smartphones.

              b.   Generally, perpetrators of fraud schemes maintain

 the evidence described above where it is close at hand and safe,

 such as in their residences, automobiles, and, especially with

 smartphones, on their person.        My training and experience is

 further informed by the statements of F.N., some of which are

 described above, including that F.N. went to the SUBJECT

 PREMISES to deliver blank shell account checks to MCGRAYAN.

              c.   Members of a fraud conspiracies or schemes must

 communicate with one another out of necessity.             Commonly this is

 done by text, email, telephone, or specialty communication

 application, often an encrypted one such as WhatsApp, as

 specifically discussed above, and most often by smartphone.



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 Members of the scheme commonly carry their smartphones, which

 include the contact information for their co-schemers, on or

 near their persons, such as in their cars or residences.

              VI. TRAINING AND EXPERIENCE ON DIGITAL DEVICES 16

       116.       Based on my training, experience, and information

 from those involved in the forensic examination of digital

 devices, I know that the electronic evidence, inter alia,

 described below, is often retrievable from digital devices.

       117.       Forensic methods may uncover electronic files or

 remnants of such files months or even years after the files have

 been downloaded, deleted, or viewed via the Internet.              Normally,

 when a person deletes a file on a computer, the data contained

 in the file does not disappear; rather, the data remain on the

 hard drive until overwritten by new data, which may only occur

 after a long period of time.        Similarly, files viewed on the

 Internet are often automatically downloaded into a temporary

 directory or cache that are only overwritten as they are

 replaced with more recently downloaded or viewed content and may

 also be recoverable months or years later.

       118.      Digital devices often contain electronic evidence

 related to a crime, the device’s user, or the existence of



        As used herein, the term “digital device” includes any
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 electronic system or device capable of storing or processing
 data in digital form, including central processing units;
 desktop, laptop, notebook, and tablet computers; personal
 digital assistants; wireless communication devices, such as
 paging devices, mobile telephones, and smart phones; digital
 cameras; gaming consoles; peripheral input/output devices, such
 as keyboards, printers, scanners, monitors, and drives; related
 communications devices, such as modems, routers, cables, and
 connections; storage media; and security devices.

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 evidence in other locations, such as, how the device has been

 used, what it has been used for, who has used it, and who has

 been responsible for creating or maintaining records, documents,

 programs, applications, and materials on the device.              That

 evidence is often stored in logs and other artifacts that are

 not kept in places where the user stores files, and in places

 where the user may be unaware of them.           For example, recoverable

 data can include evidence of deleted or edited files; recently

 used tasks and processes; online nicknames and passwords in the

 form of configuration data stored by browser, e-mail, and chat

 programs; attachment of other devices; times the device was in

 use; and file creation dates and sequence.

       119.     The absence of data on a digital device may be

 evidence of how the device was used, what it was used for, and

 who used it.     For example, showing the absence of certain

 software on a device may be necessary to rebut a claim that the

 device was being controlled remotely by such software.

       120.     Digital device users can also attempt to conceal

 data by using encryption, steganography, or by using misleading

 filenames and extensions.       Digital devices may also contain

 “booby traps” that destroy or alter data if certain procedures

 are not scrupulously followed.        Law enforcement continuously

 develops and acquires new methods of decryption, even for

 devices or data that cannot currently be decrypted.

       121.     Based on my training, experience, and information

 from those involved in the forensic examination of digital

 devices, I know that it is not always possible to search devices


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 for data during a search of the premises for a number of

 reasons, including the following:

       122.    Digital data are particularly vulnerable to

 inadvertent or intentional modification or destruction.               Thus,

 often a controlled environment with specially trained personnel

 may be necessary to maintain the integrity of and to conduct a

 complete and accurate analysis of data on digital devices, which

 may take substantial time, particularly as to the categories of

 electronic evidence referenced above.          Also, there are now so

 many types of digital devices and programs that it is difficult

 to bring to a search site all of the specialized manuals,

 equipment, and personnel that may be required.

       123.    Digital devices capable of storing multiple

 gigabytes are now commonplace.        As an example of the amount of

 data this equates to, one gigabyte can store close to 19,000

 average file size (300kb) Word documents, or 614 photos with an

 average size of 1.5MB.

       124.    This search warrant requests authorization to use

 the biometric unlock features of a device, based on the

 following, which I know from my training, experience, and review

 of publicly available materials:

       125.    Users may enable a biometric unlock function on some

 digital devices.       To use this function, a user generally

 displays a physical feature, such as a fingerprint, face, or

 eye, and the device will automatically unlock if that physical

 feature matches one the user has stored on the device.              To

 unlock a device enabled with a fingerprint unlock function, a



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 user places one or more of the user’s fingers on a device’s

 fingerprint scanner for approximately one second.             To unlock a

 device enabled with a facial, retina, or iris recognition

 function, the user holds the device in front of the user’s face

 with the user’s eyes open for approximately one second.

       126.    In some circumstances, a biometric unlock function

 will not unlock a device even if enabled, such as when a device

 has been restarted or inactive, has not been unlocked for a

 certain period of time (often 48 hours or less), or after a

 certain number of unsuccessful unlock attempts.             Thus, the

 opportunity to use a biometric unlock function even on an

 enabled device may exist for only a short time.             I do not know

 the passcodes of the devices likely to be found in the search.

       127.    Thus, the warrant I am applying for would permit law

 enforcement personnel to, with respect to any device that

 appears to have a biometric sensor and falls within the scope of

 the warrant: (1) depress MCGRAYAN’s thumb and/or fingers on the

 device(s); and (2) hold the device(s) in front of MCGRAYAN’s

 face with his eyes open to activate the facial-, iris-, and/or

 retina-recognition feature.

       128.    Other than what has been described herein, to my

 knowledge, the United States has not attempted to obtain this

 data by other means.

                               VII. CONCLUSION

       119.    For all the reasons described above, there is

 probable cause to believe that VAHE MARGARYAN, AKA WILLIAM

 MCGRAYAN; SARKIS SARKISYAN, AKA SAMUEL SHAW; AKSEL MARKARYAN,


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 AKA AXEL MARK; ASHOT BEJANYAN, AKA ALEX BENJAMIN; JACK AYDINIAN,

 AKA JACK AYDI; TARON MUSAYELYAN, AKA TEYRON MUSEYELYAN; HOVANNES

 HOVANNISYAN, AKA JOHN HARVARD; MERY BABAYAN, AKA MERY DIAMONDZ;

 ANAHIT SAHAKYAN; FELIX PARKER; RUDIK YENGIBARYAN, AKA SAMUEL

 STAVROS, YOHAN VACHYAN, AKA JOHAN VACHYAN, AKA JOHN VACHYAN,

 KHACHATUR NIKOGHOSYAN, AND BORIS SAHAKYAN committed violations

 of 18 U.S.C. §§ 286/287 (conspiracy to defraud the government

 with respect to claims/make false claims), 1343 (wire fraud),

 1344 (bank fraud), 1956(h) (money laundering conspiracy),
 1956(a)(1) et seq. (money laundering), 1957 (engaging in

 monetary transactions in property derived from specified

 unlawful activity), and/or 31 U.S.C. §§ 5313, 5324 (structuring)

 and that evidence of such violations, as described above and in

 Attachment B of this affidavit, will be found in a search of the

 SUBJECT PERSON and SUBJECT PREMISES, as further described above

 and in Attachments A-1 and A-2 of this affidavit.



 Attested to by the applicant in
 accordance with the requirements
 of Fed. R. Crim. P. 4.1
 by telephone on this BBBBB
                       UG day of
 May, 2025.



 HONORABLE 3$75,&,$'21$+8(
 UNITED STATES MAGISTRATE JUDGE




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                ATTACHMENT A (SARKISYAN et al Affidavit)




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                                AFFIDAVIT

     I, Eric Ley, being duly sworn, declare and state as

follows:

                            I. INTRODUCTION

     1.    I have been a federal agent for more than 12 years.

Since May 2021, I have been a Special Agent of the U.S. Small

Business Administration (“SBA”), Office of Inspector General

(“SBA-OIG”).   Before that, I was a Special Agent with the United

States Secret Service for eight years.

     2.    Since graduating from the Criminal Investigator

Training Program conducted at the Federal Law Enforcement

Training Center, I have over ten years of experience

investigating various criminal offenses including bank fraud,

wire fraud, and money laundering.          As such, I have interviewed

hundreds of witnesses and targets, participated in the execution

of numerous search and arrest warrants relating to financial

crimes, and worked with federal prosecutors to prepare

investigations for prosecution.

     3.    For the past four years, I have focused on

investigating crimes associated with SBA-related loan and

guarantee programs including pandemic stimulus funding,

sometimes referred to as Covid-19 fraud.            From reviewing dozens

of pandemic stimulus loan files and documents associated with

those files such as subpoenaed bank records and public records,

I have become familiar with the processing and vetting of

applications under the Paycheck Protection and Economic Injury



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Disaster Loan programs, among other pandemic-related funding

programs.

     4.     Through my investigations, my training and experience,

and discussions with other law enforcement personnel, I have

become familiar with the tactics and methods employed by those

who conduct wire fraud schemes using fraudulent loan statements

and fabricated documents, money laundering, and identity theft,

among other federal offenses.        These methods include, but are

not limited to, the use of wireless communications technology,

such as encrypted messaging platforms such as “WhatsApp;” the

creation or purchase of corporate “shells,” i.e., corporations

that have been formed through the filing of articles of

incorporation but conduct no business and are used solely to

create the appearance of legitimacy; fabricating bank statements

or other business documents to satisfy lender underwriting

requirements to qualify for loans; and moving funds through

multiple accounts to promote and conceal fraud.

                        II. PURPOSE OF AFFIDAVIT

     5.     This affidavit is made in support of a criminal

complaint against, and request for issuance of arrest warrants

for, the following individuals (also, where context requires, by

“SUBJECT [NAME],” or collectively, the “SUBJECTS”), for

violations of 18 U.S.C. §§ 286/287 (conspiracy to defraud the

government with respect to claims/make false claims), 1343 (wire

fraud), 1344 (bank fraud), 1956(h) (money laundering

conspiracy), 1956(a)(1) et seq. (money laundering), 1957

(engaging in monetary transactions in property derived from

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specified unlawful activity), and/or 31 U.S.C. §§ 5313, 5324

(structuring) (collectively, the “Subject Offenses”) as more

fully described below:

     SARKIS SARKISYAN, AKA SAMUEL SHAW (“SHAW”);

     MIKHAEL MIKHAELYAN (“MIKHAELYAN”);

     ARSEN TERZYAN, AKA STEVEN TERZAKI (“TERZYAN”);

     SARKIS YEMENEJIAN (“YEMENEJIAN”); and

     MARIANNA SARKISYAN (“MARIANNA”).

     6.    The facts set forth in this affidavit are based on my

personal observations; my training and experience; witness

interviews that I have conducted; reports that I have read of

interviews conducted by other law enforcement agents; my review

of documents obtained from third parties, either by way of

subpoena or voluntary submission, such as bank or business

records; my review of publicly-filed documents such as corporate

filings; Internet searches for open source information;

financial analyses or financial records summaries prepared by a

SBA analyst who told me that she reviewed and prepared such

analyses and summaries from bank and other financial records

obtained in this investigation, and whom I believe to be

qualified to make such analyses and summaries from having worked

with her for several years and having reviewed her work product

in other matters; and my review of documents created or amassed

by the SBA in connection with providing funding for the various

loans and grants more fully described below.             Accordingly,

absent mention below of specific attribution from any of the




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above-summarized evidence, I have, solely for clarity, generally

omitted attribution for a specific fact.

     7.    Whenever I refer herein to a bank, I mean a financial

institution whose deposits were insured by the Federal Deposit

Insurance Corporation.     Whenever I refer herein to bank records,

I have done so by identifying each account by an abbreviation

for the bank followed by the account’s last four digits, e.g.,

“JPMC 1234.”    Whenever I refer to the substance or content of

such accounts, such reference is based on my review of the

records of the account(s), including bank statements, signature

card/account application documents, canceled checks, offset and

credits, and other records provided by each bank pursuant to a

grand jury subpoena.     Similarly, unless stated otherwise,

whenever I refer to records of or relating to the SBA, I am

referring to SBA records that I have reviewed as accessible to

me in my capacity as a Special Agent of the SBA-OIG.

     8.    My description of the offense conduct below is based

on my review of the above-summarized evidence and is provided

solely for the purpose of establishing probable cause to believe

that one or more of the above-stated offenses were committed by

the SUBJECTS.    Accordingly, I have not described all of the

evidence that I have reviewed during the course of this

investigation and my omission of evidence or mention of other

subjects or targets of this investigation should be considered

in that light.

     9.    Unless stated otherwise, all conversations and

statements described in this affidavit are related in substance


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and/or in part only; all dates are “on or about” or

approximations; all amounts are rounded or close approximations;

and the words “on or about” and “approximately” are omitted for

clarity.

                    III. SUMMARY OF PROBABLE CAUSE

       10.   I have probable cause to believe that the SUBJECTS

committed the Subject Offenses by creating, purchasing, or using

corporations for use in name only, i.e., as “shells”; opening

and assisting others in opening one or more bank accounts in the

names of those shells; submitting and assisting others to submit

fraudulent applications to obtain millions of dollars in

pandemic stimulus funding; creating and submitting fake

documents in support of those fraudulent applications; and

laundering and directing others to launder the proceeds of such

funding through multiple bank accounts for, ultimately, personal

use.

                           IV. PROBABLE CAUSE

       A.    The Paycheck Protection Program

       11.   The Coronavirus Aid, Relief, and Economic Security

(“CARES”) Act was a federal law enacted in or about March 2020

that was designed to provide emergency financial assistance to

Americans suffering economic harm as a result of the COVID-19

pandemic.    One form of assistance provided by the CARES Act was

the authorization of United States taxpayer funds in the form of

loans to small businesses for job retention and certain other

expenses, through a program referred to as the Paycheck

Protection Program (“PPP;” loans under that program are

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sometimes referred to herein as a “PPPL” or “PPPLs”).               PPPL

proceeds were required to be used by the applicant business to

pay certain expenses such as payroll costs, interest on

mortgages, rent, and utilities.

        12.   In order to obtain a PPPL, a qualifying business was

required, among other things, to submit a PPPL application that

required the applicant business (through its authorized

representative) to acknowledge PPP program rules and make

certain affirmative certifications that the applicant business

would comply with all such rules to be eligible to obtain a

PPPL.    Such certifications required, among other things, that

the applicant affirm that “[PPP] funds will be used to retain

workers and maintain payroll or make mortgage interest payments,

lease payments, and utility payments,” and that the “loan

proceeds will be used only for business-related purposes as

specified in the [PPPL application]” and consistent with PPP

rules.    The authorized representative of the applicant was also

required to certify that “the information provided in th[e] PPP

application and the information provided in all supporting

documents and forms is true and accurate in material respects,”

and that “I understand that if the funds are knowingly used for

unauthorized purposes, the federal government may hold me

legally liable, such as for charges of fraud.”

        13.   A PPPL applicant’s representative was also required

to state, among other things, the applicant’s average monthly

payroll expenses and number of its employees.             These figures

were used to calculate the amount of money that the business was


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eligible to receive under the PPP.           In addition, the applicant’s

representative was required to provide documentation showing its

payroll expenses and such other documentation as the SBA or the

lender requested.

     14.    A PPPL application and supporting documents were

submitted online through a portal and processed by a

participating lender.      The applicant’s representative confirmed

his/her true identity through a variety of means including

providing personal identifying information, uploading a copy of

that person’s driver’s license and/or Social Security card,

and/or executing loan documents via a document authentication

platform such as DocuSign.       If a PPPL application was approved,

the participating lender would fund the PPPL using its own funds

and would wire-transfer those funds to a bank account designated

by the applicant.       By wire-transferring the loan proceeds to

that designated account, the lender, the SBA and, ultimately,

law enforcement would have yet another way to ensure that the

application was sought by the stated applicant through his/her

duly acting representative and that the applicant received and

used those funds in accordance with PPP rules.

     15.    If PPP lending criteria were followed by the lender,

the SBA, in turn, guaranteed the borrower’s repayment in the

event of that borrower’s default.

     B.    The Economic Injury Disaster Loan Program

     16.    In addition to the PPP, the CARES Act authorized

taxpayer funds under the Economic Injury Disaster Loan program

(individually, an “EIDL,” or collectively, “EIDLs”).               The EIDL


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program provided low-interest funding to small businesses,

renters, and homeowners affected by the COVID-19 pandemic.

     17.    In order to obtain an EIDL, a qualifying business was

required to submit an application to the SBA, typically through

an online portal, and provide information about its operations,

such as the nature of the applicant’s business, e.g.,

“agriculture,” the number of employees, and gross revenues for

the 12-month period preceding the Covid-19 pandemic.              Like

PPPLs, EIDL applicants were required to certify that all

information in the application as provided by the applicant or

on behalf of the applicant by their authorized representative

was true and correct.

     18.    An EIDL “Loan Authorization and Agreement” (“LA&A”)

was executed by the applicant’s authorized representative as a

condition of receipt of EIDL proceeds that stated that.               The

LA&A required that the applicant use the EIDL proceeds only for

purposes stated in EIDL rules, such as for employee payroll

expenses, employee sick leave, and business obligations and

expenses such as business debts, rent, and mortgage payments.

EIDL funds could not be used other than for those purposes,

including that such funds could not be deposited or held for

future business operations, used to capitalize a new business or

for business start-up expenses, or used for purposes not

associated with the operation of a going concern.

     19.    The amount of an EIDL was determined, in part, by the

applicant’s representations in the EIDL application about the

nature of the applicant’s business and the applicant’s


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statements about employees, and revenue.            Any funds paid under

an EIDL were issued directly by the SBA from CARES Act

appropriations by Congress.

     20.    If the EIDL applicant also obtained a PPPL, EIDL

proceeds could not be used for the same purpose as the PPP loan

proceeds.

     21.    PPP and EIDL applicants were also obligated to

provide true and correct information in response to requests by

PPP lenders or the SBA as part of the PPPL and EIDL vetting

process, such as requests to clarify business ownership and

requests to provide genuine payroll tax documents such as IRS

Forms 940, 941, or W3 “Transmittal of Wage and Tax Statements.”

     C.     PPPL Forgiveness

     22.    Under certain circumstances, PPPL borrowers were

entitled to forgiveness of their PPP obligations.              As a

condition of forgiveness, borrowers were required to complete a

“PPP Loan Forgiveness Application” on which their authorized

representative represented and certified that the borrower had

complied with all PPP rules “including the rules related to                . .

. eligible uses of PPP loan proceeds[]” and that “[t]he

information provided in th[e forgiveness application was] true

and correct in all material respects.”           The forgiveness

application warned that ”knowingly making a false statement to

obtain forgiveness was a federal crime, punishable by

imprisonment and/or a fine.”

     23.    I know from my training and experience, and from

evidence gathered in this case, that PPPL lenders and the SBA


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relied on an applicant’s truthfulness in statements made on

applications and related documents, and on the genuineness of

documents submitted by applicants in support of applications, to

determine whether to approve PPPLs or EIDLs.

     D.    Restaurant Revitalization Fund Grants

     24.    In March 2021, the American Rescue Plan Act became

law and established the Restaurant Revitalization Fund (“RRF”)

for which Congress appropriated $28.6 billion for the SBA to

award emergency assistance to qualifying businesses that served

food or drink, essentially restaurants.            Entitlement was

substantially based on pandemic-caused revenue loss.              The RRF

was a conditional grant program, meaning that RRF recipients

were not required to repay the funds so long as those funds were

used for specific expenses and by a certain deadline.

     25.    RRF applicants submitted personal and business

information, typically through an online SBA portal, in support

of each RRF application.      Among other things, applicants were

required to list all owners of 20% or more of the business.                The

listing for each owner required the owner’s Employer

Identification Number (“EIN”), Social Security number, or

“Individual Taxpayer Identification Number.”

     26.    The SBA prioritized RRF awards to small businesses at

least 51% owned and controlled by women, veterans, and/or the

socially and economically disadvantaged.



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        27.   RRF recipients were required to certify that they

would use RRF proceeds for normal business operations such as

for payroll costs, health care, business mortgages or rent.

Recipients were then required to submit a “post-award report” in

which they certified that their RRF proceeds were used in

compliance with the program.

        E.    SUBJECT SHAW: Wire Fraud, Bank Fraud, and Money
              Laundering re “Prime” PPPL
              1.   SHAW’s Background
        28.   In 2011, SHAW, under his given name Sarkis

Gareginovich Sarkisyan, was convicted in Santa Clara Superior

Court, case no. B1151803, of unauthorized access to computers

(Cal.Pen.C. sec. 502(c)(1)), theft of credit card information

(Cal.Pen.C. sec. 484e), counterfeiting credit cards (Cal.Pen.C.

sec. 484i), and conspiracy (Cal.Pen.C. sec. 182).              In 2023, SHAW

changed his name from Sarkis Gareginovich Sarkisyan to Samuel

SHAW.    Genuine images of SHAW’S prior and latest driver’s

license are below:




        29.   SHAW is the brother-in-law of SUBJECTS MIKHAELYAN and

TERZYAN.

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     30.     SHAW has fraudulently claimed that he is the victim

of identity theft by lying about his income and employment to

obtain credit, failing to pay such debt, and then years later

claiming the debts were not his.           I reviewed documents provided

by BMW Financial Services (“BMW”), and spoke with Homeland

Security Investigations analyst Michael Reid, and learned the

following:

             a.   In 2014, SHAW financed the purchase of a new BMW,

in connection with which he provided his true Social Security

number and listed his true residence address (the same address

that, as more fully discussed below, he provided in connection

with several fraudulent loan applications).             He claimed an

annual salary of $876,000 as an employee of “Nairi Restaurant”

(a business for which, as more fully discussed below, SHAW’s

brother-in-law, MIKAELYAN, and another SUBJECT, YEMENEJIAN,

fraudulently obtained an RRF and by which SHAW was never

employed).    I know from other documents in this case, also more

fully discussed below, that SHAW during that same time period

(2012 to 2020) fraudulently claimed that he was an “IT

Specialist.”

             b.   SHAW paid loan installments on the BMW loan for

approximately five years from a bank account that he controlled.

             c.   In 2018, SHAW submitted a report under penalty of

perjury to the Federal Trade Commission that he was the victim

of identity theft with respect to the BMW loan and other debts.

             d.   SHAW then sent a letter to Equifax (a credit

reporting agency) in which he claimed that he was the victim of


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identity theft relating to credit accounts (e.g., Macy’s and

Bloomingdale’s).     Attached to SHAW’s letter to Equifax was what

appeared to be a Long Beach Police Department (“LBPD”) report

that indicated that SHAW had reported his identity theft to

LBPD.    The report indicated that SHAW provided to LBPD the same

purportedly misused credit accounts, including BMW (an account

on which SHAW had paid installments for several years before

claiming that his identity was stolen).

              e.   HSI Analyst Reid told me that he provided LBPD a

copy of the purported LBPD report that SHAW had sent to Equifax.

An LBPD employee responded that the purported report that SHAW

had sent to Equifax was fake as the LBPD number on the purported

report did not match the genuine report number in LBPD’s files

and that the purported report appeared to have been altered.

              2.   Offense Conduct re “Prime” PPPL

        31.   Prime Funding, Inc. (“Prime”) was incorporated in

2018 and, in January 2021, its business address was updated in

California corporation records to 7011 Liberty Drive, Van Nuys,

CA (the “Liberty Address”), an address that I know from SHAW’s

driver’s license and other sources to be SHAW’s personal

residence at all times relevant to this affidavit.

        32.   Three months later, in April 2021, an application was

submitted online for a PPPL on behalf of Prime.              The application

identified SHAW as Prime’s authorized representative and

contained SHAW’s driver’s license, Social Security number, and

the Liberty Address.     The stated reason for the PPPL was to

cover Prime’s payroll costs for 57 employees at an average

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monthly payroll of $314,583.         The applicant submitted what

appeared to be genuine Internal Revenue Service (“IRS”) Forms

941 (quarterly payroll tax returns) that identified the Liberty

Address as Prime’s business address.

     33.     I reviewed a response from the IRS pursuant to a law

enforcement “Fact of Filing” request that is commonly used in

these investigations to determine if IRS-related documents were

actually filed with the IRS.         I learned that none of the Forms

941 submitted on behalf of Prime in connection with the PPPL was

actually filed with the IRS.

     34.     I also know from my training and experience that the

California Employment Development Department (“EDD”) maintains

records of wages paid to employees.          I reviewed EDD records for

Prime and learned that Prime had never reported the payment of

any wages.

     35.     The applicant for the Prime PPPL also provided as

part of the PPP underwriting process what purported to be

payroll reports prepared by a third-party payroll processor

called “Paylocity,” an entity that I know to be similar to

payroll processor ADP.     The reports listed 56 names of

individuals who were purportedly employed by Prime with titles

like “customer service,” “sales,” or “admin.”             I received

information from Paylocity that Paylocity never did any payroll

work for Prime and that the reports were fake.             Below is an

image of one such report, showing gross wages of $1,539,526,

that was submitted by the applicant for the Prime PPP:




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     36.      The applicant for the Prime PPPL designated a
JPMorgan Chase Bank (“JPMC”) account ending in 6026 (the “JPMC

6026”) to receive the proceeds of Prime’s PPPL.              I know that

PPPL, EIDL, and RRF applicants were required to designate a bank

account to which funds would be wire-transferred to the

applicant.

     37.      An individual identifying himself as SHAW

electronically, via the DocuSign authentication platform,

acknowledged and then electronically transmitted to the lender,

JPMorgan Chase, a standard form PPPL certification that stated,

among other things, that PPPL proceeds would solely be used by

Prime to retain employees and for certain of its business

expenses.

     38.      Prime’s PPPL was approved and funded by JPMorgan

Chase in April 2021, for $786,457, with a wire transfer in that

amount.     I reviewed bank records for JPMC 6026 that showed the

wire-transfer deposit of the Prime PPPL proceeds, and learned

the following:




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           a.     The balance in the JPMC 6026 was $173 before the

PPP proceeds were deposited.

           b.     SHAW was the sole signatory on the 6026 Account.

The signature card/account application identified SHAW by his

true name, Social Security number, and date of birth.               His

signature matched that of his driver’ license.

           c.     Within six weeks of the deposit, substantially

all of the Prime PPPL proceeds were withdrawn or transferred out

of the account.

           d.     SHAW made more than $50,000 in cash withdrawals

from the JPMC 6026 following the PPPL proceeds deposit,

including four such withdrawals just under $10,000.              Based on my

training and experience, I believe that those transactions

indicated that transactions were structured to ensure that the

bank did not submit Currency Transaction Reports to the U.S.

Treasury Department. 1

           e.     There were no payments to any payroll company for

Prime, nor were there any checks or transfers to any of the

     1   The following legal authority was provided by the AUSA:
     Federal law requires banks and other financial institutions
to file reports with the Secretary of the Treasury whenever they
are involved in a cash transaction or exchange of currency that
exceeds $10,000. “A person who willfully violates this law is
subject to criminal penalties.” 31 U.S.C. §§ 5313, 5324; 31 CFR
§ 103.22(a),(b)(2006 Ed.); Ratzlaf v. United States, 510 U.S.
135, 136 (1994); see also, United States v. Turner, 400 F.3d
491, 497 (7th Cir. 2005)(in case charging conspiracy to launder
money, “we know that certain types of transactions may be
indicative of a design to conceal. These include transactions
surrounded in unusual secrecy, structured transactions,
depositing ill-gotten funds into another’s bank accounts, using
third parties to conceal the real owner, or engaging in unusual
financial moves which culminate in a transaction.”).


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names of purported Prime employees listed on the “Paylocity”

reports.

             f.   Out of PPPL proceeds, SHAW wrote a $49,569 check

(the signature on the check matches that of SHAW’s driver’s

license) to “Humboldt Wholesale, Inc.,” which, on further

investigation, appeared to be a supplier of items to cultivate

marijuana.    See, e.g., https://www.dnb.com/business-

directory/company-

profiles.humboldt_wholesale_inc.cd260285658c4f8a89458e6c479d928e

.html.

             g.   Out of the Prime PPPL proceeds in the JPMC 6026,

SHAW also made large online payments to individuals whom I

identified as friends or neighbors of SHAW’s father and who were

not identified on either the fake Paylocity or EDD records as

associated with or employed by Prime:

             April 29, 2021 – June 8, 2021 - $90,000.00           to E.T.

             May 24, 2021 – June 9, 2021 - $17,468.00           to T.T.

             May 24, 2021 – June 9, 2021 - $17,532.00           to A.T.

             3.   Wire Fraud re Prime’s PPPL Forgiveness
                  Application

     39.     In June 2022, an application was submitted online to

forgive Prime’s PPPL.     “Sarkis G. Sarkisyan” (whose name matches

that on SHAW’s previous driver’s license, depicted above) was

identified as the “primary contact” on the forgiveness

application and the Liberty Address was provided as Prime’s

“business address.”     The forgiveness application was

electronically signed by “Sarkis Sarkisyan” as Prime’s


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“authorized representative.”         Based on this evidence and the

evidence that shows that SHAW controlled and misused the Prime

PPPL proceeds, described above, I have probable cause to believe

that SHAW submitted this forgiveness application and will refer

to that application as such.

     40.    SHAW was required to certify that the Prime PPPL

proceeds were “used to pay business costs that are eligible for

forgiveness,” such as payroll costs to retain employees.               SHAW

stated that Prime’s payroll costs were $1,539,526.58, an amount

that matched that of the payroll costs on the phony Paylocity

payroll report submitted to support the PPPL, as described

above.

     41.    Again, in reviewing bank records showing the wire

transfer of the Prime PPPL proceeds to the JPMC 6026, I did not

see any withdrawals or transfers that appeared to be for Prime’s

payroll.

     F.    SUBJECT MIKHAELYAN: Wire Fraud, Bank Fraud, and Money
           Laundering re “Cornwall” PPPL

     42.    On May 20, 2020, an application for a PPPL was

submitted on behalf of the “Cornwall Group, Inc.” (“Cornwall”).

     43.    Public records show that MIKAELYAN was Cornwall’s

sole officer and director, and at various times in public

records its stated business was “management” or “water

restoration.”

     44.    Contrary to the above-described public records,

Cornwall’s PPPL application stated that Cornwall was a




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“miscellaneous store retailer,” had 81 employees, and had an

average monthly payroll of $357,541.

     45.    The applicant also submitted various documents in

support of the application, including, similar to SHAW’s PPPL

application for Prime, an IRS Form 941.            Here, that form

reported that Cornwall had paid wages in the first quarter of

2020 in excess of $1 million.

     46.    I submitted an IRS Fact of Filing request for

Cornwall and from that response confirmed that no such form was

actually submitted to the IRS.

     47.    The applicant also submitted a payroll report

purportedly from Paylocity, the same payroll company whose

payroll report SHAW had fabricated.          The report listed purported

Cornwall employees and their wages.          I learned from EDD that EDD

has no record of the purported employees and from Paylocity that

it had no records for Cornwall.

     48.    An individual identifying himself as MIKHAELYAN

electronically, via the DocuSign authentication platform,

acknowledged and then electronically transmitted to the lender,

Bank of America, a standard form PPPL certification that stated,

among other things, that PPPL proceeds would solely be used by

Cornwall to retain employees and for certain of its business

expenses.

     49.    Bank of America approved the Cornwall PPPL

application and funded the loan of $893,852 in May 2020.               I

reviewed records from Bank of America for a Bank of America




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account ending in 7587 (the “BofA 7587”) into which the Cornwall

PPP proceeds were deposited.         I learned the following:

              a.   An individual identifying himself as MIKHAELYAN

opened the BofA 7587 in 2017.        The signature card/account

application identified MIKHAELYAN by his true date of birth and

genuine Social Security and driver’s license numbers.

              b.   MIKHAELYAN was the sole signatory on the BofA

7587.    The signature on the signature card matches that of

MIKHAELYAN on his genuine driver’s license.
              c.   The balance just before the deposit of the

Cornwall PPP loan proceeds was de minimus.

              d.   Substantially all of the Cornwall PPPL proceeds

were withdrawn in the form of checks within about a week of the

proceeds’ deposit, including a $40,000 check to the Los Angeles

Rams.    The signatures on that check (and each check) matched

that of MIKHAELYAN’s driver’s license:




        50.   In August 2021, an application was submitted for

forgiveness of the entire Cornwall PPPL.            The application

electronically certified, in a manner similar to the initial

PPPL certification, that Cornwall had 82 employees at the time




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of the forgiveness application and that the PPPL proceeds were

used for Cornwall’s business expenses including 60% for payroll.

     51.    I also saw a check within the BofA 7587 records, that

I believe bore MIKHAELYAN’s genuine signature, for $479,000.

The check bore the notation “PPP payroll” (the “PPP Payroll

Check”):




     52.    The balance in the BofA 7587 at the time of the PPP

Payroll Check consisted substantially of unspent Cornwall PPPL

loan proceeds.    I traced the deposit of the PPP Payroll Check to

a different Cornwall account, at HSBC bank (the “HSBC Account”).

I reviewed records of that account and learned that the HSBC

Account was opened three months before the date that the

Cornwall PPPL application was submitted.            The signature

card/account application identified the sole signatory as

MIKHAELYAN, by his true personal identifying information.               I

also learned from reviewing bank statements for the HSBC Account

that there were no checks or withdrawals to any person named as

a Cornwall employee on the Paylocity report, nor were there any

payments to Paylocity or other transfers consistent with paying

wages or compensation to others at least for the operation of a




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“miscellaneous store retailer” as MIKHAELYAN had represented on

the Cornwall PPPL application.

     G.    SUBJECT MIKHAELYAN: Wire Fraud and False Claim re
           Cornwall EIDL

     53.    On July 14, 2020, an EIDL application was submitted

to SBA for a $150,000 EIDL on behalf of Cornwall.              The standard

form application identified MIKHAELYAN as the contact person,

giving his correct address, and stating that Cornwall had 2019

calendar year revenue of $478,000 (nearly the same number as the

PPP Payroll Check that MIKHAELYAN had signed a few weeks

earlier); had two employees (compared to 82 as MIKHAELYAN had

stated on the Cornwall PPP application only two months earlier);

and had zero revenue for 2020 (compared to over $1 million as

stated on the Form 941 for the first quarter of 2020 that

MIKHAELYAN had submitted in support of the Cornwall PPPL

application).

     54.    A person who identified himself as MIKAELYAN signed

the standard form Loan Authorization and Agreement (“LA&A”) via

the DocuSign online authentication platform in which he

represented that Cornwall would, in pertinent part, “use all the

proceeds of this [l]oan solely as working capital to alleviate

economic injury caused by disaster occurring in the month of

January 31, 2020[.]”

     55.   On the basis of the applicant’s representations,

above, the EIDL was approved and its proceeds ($149,900, net of

fees) wire-transferred to the HSBC Account.             MIKHAELYAN promptly

signed checks to spend-down substantially all of those proceeds,



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including checks to MIKHAELYAN’s sister, SUBJECT MARIANNA

SARKISYAN and to others not identified on the Paylocity report

as “employees” of Cornwall.

     H.    SUBJECTS MIKHAELYAN and YEMENEJIAN: Wire Fraud, False
           Claim, and Money Laundering re “Nairi” RRF

     56.      In May 2021, an application for an RRF for a

restaurant called “Nairi Meat & Deli” in Hollywood, CA (“Nairi”

and the “Nairi RRF”) was submitted to the SBA.             The email

contact on the application was “mikaelyanmike@gmail.com.”

     57.      RRFs were offered to support the restaurant industry

by providing funding to offset significant pandemic-related

revenue loss.    RRFs had specific requirements to ensure

equitable distribution to small business concerns owned by

women, veterans, and socially and economically disadvantaged

applicants.

     58.      The Nairi RRF application identified L.D., a woman,

as the president and 100 percent owner.            I interviewed L.D.      She

told me that she did not own Nairi at the time of the RRF

application and that she gave up ownership to MIKHAELYAN and her

ex-husband, YEMENEJIAN, in the early 2000’s.             L.D. also stated

that she could not recall whether she or MIKHAELYAN submitted

the Nairi RRF application, but in any event that she gave

MIKHAELYAN permission to do so.         MIKHAELYAN was previously

identified as Nairi’s sole owner on an EIDL application.

     59.      In further support of the Nairi RRF, the applicant

submitted a 2019 federal income tax return for Nairi that,

according to IRS transcripts that I reviewed, was filed



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approximately two weeks before the RRF application was

submitted, thus indicating that the return was untimely (i.e.,

it should have been filed in 2020) and prepared to facilitate

the Nairi RRF as opposed to reporting financial activity to

comply with tax laws.

     60.     The SBA approved the Nairi RRF and in May 2021 wire-

transferred the RRF grant proceeds of $1,905,824 to a JPMC

account ending in 5870 (the “JPMC 5870”).               I reviewed records

for the JPMC 5870 and learned the following:

            a.    L.D. was removed as a signatory before the RRF

was sought, and MIKHAELYAN was replaced as the sole signatory.

            b.    Within about two weeks after the Nairi RRF

proceeds were deposited into the JPMC 5870, YEMENEJIAN, who was

not a signatory on the account, wrote 16 checks to MIKHAELYAN

(and confirmed as such during an interview), each in the amount

of $4,567.50, totaling $73,072. 2          I know from my training and

experience that individuals frequently transact in amounts below

$10,000 for fear of drawing suspicion for structuring.                The

detail of those checks is as follows:

 Date of Check               Amount              Payee
 March 15, 2020              $9,135              Mikael Mikaelyan
 March 31, 2020              $9,135              Mikael Mikaelyan
 April 3, 2020               $4,567.50           Mikael Mikaelyan
 April 10, 2020              $4,567.50           Mikael Mikaelyan
 April 17, 2020              $4,567.50           Mikael Mikaelyan
 April 24, 2020              $4,567.50           Mikael Mikaelyan




     2 The bank still honored the checks, even though signed by a
non-signatory.
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           c.     L.D.’s ex-husband, SUBJECT YEMENEJIAN, wrote

numerous checks on the account, again even though he was not a

signatory, including to “Express Restoration.”             I know from

reviewing evidence in this case that “Express Restoration” was a

purported corporation – likely just a shell – whose president

was identified on public records as MIKHAELYAN.

           d.     YEMENEJIAN also wrote a $36,504 check to

“Humboldt Wholesale,” the same entity that SHAW paid out of PPPL

funds and that I believe from open sources to be a marijuana

cultivation supply business.         I have found no information that

Nairi was a marijuana dispensary in addition to being a

restaurant.

           e.     L.D. also told me that she was remodeling her

residence during the time that the Nairi RRF proceeds were

received and that a check signed by YEMENEJIAN out of those

proceeds, to Bank of America for $104,044, was to pay off a

secured loan that she had obtained for home improvements that

had nothing to do with Nairi’s operation.

           f.     All told, YEMENEJIAN signed over 150 checks

totaling more than $1.2 million out of the RRF proceeds to a

variety of payees, some of which appeared to be shells or, at

least, not restaurant suppliers or Nairi employees according to

EDD records and the absence of related IRS records.

     61.      The SBA required that all RRF recipients submit

annually a “post award report” in which the RRF recipient’s

representative was required to certify that the RRF funds had

been used as required, i.e., for restaurant-related expenses.


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     62.    I reviewed a post-award report for Nairi that was

submitted via email from the same email account that identified

on the Nairi RRF application: “mikhaelyanmike@gmail.com.”               The

report certified that all RRF proceeds were used for permissible

business-related expenses.      The post-award report did not

mention or separately itemize the $73,072 payments to

MIKHAELYAN, the $104,044 payment to pay off L.D.’s loan from

Bank of America, or the $36,504 payment to the marijuana

cultivation supply business.

     63.    In June 2024, during this investigation and shortly

after I first spoke to L.D., MIKHAELYAN called me.              He told me

that he owned Nairi and that he wanted to participate in an

interview that I had scheduled with L.D.            I told MIKHAELYAN that

he could not participate in the interview of L.D. but that I

would separately interview him.         He stated that he should be

present during L.D.’s interview because they “were family.”                He

then stated that he only “managed the operations” of Nairi and

would not answer when I asked if he “owned” Nairi.              He repeated

that he was “in charge” of operations and added that YEMENEJIAN

was also involved in running Nairi.

     I.    MIKHAELYAN: Wire Fraud and False Claim re “Rest” EIDL
           Modification

     64.    In May 2020, an EIDL application for $150,000 was

submitted online on behalf of Rest Assured Restoration (“Rest”).

The EIDL application showed MIKHAELYAN’s true name, date of

birth, and email address that matched that of the RRF

application and related RRF documents.           The applicant stated



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that Rest was in the “personal services” industry, had 18

employees, and had gross revenues for calendar year 2019 of

$754,000.

     65.    Per records that I obtained from EDD, Rest had no

employees and no filings at all.

     66.    Per an IRS Fact of Filing request, the IRS had no

records of payroll tax returns for Rest.

     67.    The Rest EIDL was approved and its proceeds were

deposited into an account whose sole signatory was MIKHAELYAN.

     68.    In late 2021, the SBA received an application to

modify the Rest EIDL by increasing the loan by $350,000.               The

Rest EIDL file “notes” section (that I know contained summaries

of communications between borrowers and SBA loan officers,

including requests for additional financial information)

reflected that MIKAELYAN was advised that he needed to provide

genuine federal income tax returns for Rest for calendar years

2019 and 2020 to justify the modification and to authorize the

SBA to confirm that such returns were filed with the IRS.

     69.    I reviewed in the Rest EIDL file what appeared to be

Rest calendar year 2019 and 2020 federal income tax returns

signed by MIKHAELYAN and IRS transcripts that reflected the

filing of such returns.     The transcripts showed that the returns

had not been timely filed but, instead, were filed together in

December 2021, just before the Rest EIDL modification request

was made.   The transcripts reflected that Rest had gross income

for each year of more than $1 million and that Rest owed tens of




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thousands of dollars in income taxes.           No taxes were actually

paid. 3
      70.    The SBA ultimately denied the Rest EIDL modification

request by concluding that Rest had filed its income tax returns

solely to qualify for the EIDL modification rather than to

reflect genuine financial activity.

      J.    SUBJECT YEMENEJIAN: Wire Fraud and False Claim re
            “Tiny Tots” EIDL

      71.    In August 2020, an application was submitted online

for an EIDL for Tiny Tots Childcare, Inc. (“Tiny Tots”) for

$150,000.    The applicant described Tiny Tots as providing

“educational services” and “daycare” since its “start date” of

January 1, 2019.

      72.    An individual identified as YEMENEJIAN electronically

signed an EIDL LA&A for the Tiny Tots EIDL on August 7, 2020, in

which the applicant promised to “use all the proceeds of this

Loan solely as working capital to alleviate economic injury

caused by disaster occurring in the month of January 31,

2020[.]”    Thus, by the terms of the LA&A, TTCI had to be in

existence “in the month of January [], 2020.”

      73.    The Tiny Tots EIDL was funded and, based on my review

of SBA records relating to this EIDL, its proceeds were wire-




      3  As more fully described in the concurrently submitted
request for issuance of arrest and search warrants for SUBJECT
MCGRAYAN, et al., I have probable cause to believe that SUBJECTS
submitted fraudulent tax returns to obtain loans in a somewhat
creative manner where the returns fraudulently reported
substantial income and tax due in order to create the appearance
of legitimacy. No tax was ever paid.
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transferred into California Credit Union Account ending in 8996

(the “CCU 8996”).

     74.     I reviewed records for the CCU 8996 and learned the

following:

             a.   The signature card/account application identified

YEMENEJIAN as Tiny Tot’s authorized representative and provided

his true name, date of birth, and driver’s license number.               The

account was opened with $200 on August 5, 2020, or one day

before the Tiny Tots EIDL application was submitted to the SBA.

             b.   YEMENEJIAN was identified on the signature

card/account application as the CEO and 100% owner of Tiny Tots.

I recognized the signature on the signature card/account

application as matching that of YEMENEJIAN’s driver’s license, a

copy of which was also included in the CCU records.

             c.   CCU records also contained a “Statement of

Information” (“SOI”) for “Tiny Tots Childcare, Inc.,” filed with

the California Secretary of State on July 31, 2020, or five days

before the CCU 8996 was opened.         The SOI, which I confirmed had,

in fact, been publicly filed, identified YEMENEJIAN as the sole

officer and director of Tiny Tots at the same address for Tiny

Tots that YEMENEJIAN had given when he opened the CCU 8996.

             d.   CCU 8996 records show that the Tiny Tots EIDL

proceeds of $149,900 (net of fees) were deposited into that

account on August 10, 2020.      The prior balance was $200, an

amount credited to the account when it was opened days earlier.

There was no other deposit activity.




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           e.    As more fully described below, none of the EIDL

proceeds was used “solely as working capital to alleviate

economic injury caused by disaster occurring in the month of

January 31, 2020” because, as described below, Tiny Tots never

opened.

     75.    An application for an EIDL modification for Tiny Tots

was later sought to obtain another $349,900.             In connection with

that application, as required and requested by SBA to underwrite

the EIDL, the applicant provided a 2019 federal income tax

return for Tiny Tots that indicated it had been prepared by C.H.

I interviewed C.H., who told me the following:

           a.    He is a tax preparer.

           b.    He prepared the Tiny Tots return that I saw in

the SBA’s Tiny Tots EIDL modification file.

           c.    YEMENEJIAN came to C.H.’s office and presented a

small piece of paper with line items for purported business

income and expenses for Tiny Tots.          YEMENEJIAN directed C.H. to

prepare Tiny Tots’s 2019 federal income tax return using that

information.

           d.    YEMENEJIAN did not provide any other information

to C.H. for the preparation of the return.

           e.    C.H.’s practice was to prepare returns for

clients based on information provided by clients.              C.H. did not

personally verify or audit any such information.              C.H. would

simply instruct clients, including by providing cover letters

for returns, that the returns that he prepared for clients based




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on client’s information were simply, in essence, as reliable and

accurate as that information.

             f.   YEMENEJIAN signed Tiny Tots’s 2019 federal income

tax return in C.H.’s presence.

       76.   I reviewed that return and learned that, among other

things, YEMENEJIAN reported that Tiny Tots had gross revenue

from operations for calendar year 2019 of $356,640.              Based on my

training and experience, and review of the totality of the

evidence gathered in this investigation, I have probable cause

to believe that YEMENEJIAN submitted made up numbers to C.H.

with the intent that C.H. prepare a false income tax return to

fraudulently facilitate obtaining this EIDL.

       77.   I served a grand jury subpoena on YEMENEJIAN as Tiny

Tots’s custodian of records and agent for service of process.

Through counsel, YEMENEJIAN produced a building lease in

response to the subpoena’s request for that and other records.

I reviewed the lease and learned the following that the lease

was executed on August 30, 2018.           The lessor was identified as

S.B.

       78.   I interviewed S.B. and learned the following:

             a.   S.B. told me that he was the lessor for the

subject property and that he met YEMENEJIAN to negotiate the

lease on behalf of Tiny Tots.

             b.   S.B. stated that the lease with Tiny Tots never

took effect because the City of Los Angeles refused to issue

Tiny Tots a permit to operate.




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           c.     S.B. gave me a copy of the lease from his

(S.B.’s) files.    The lease was similar to the copy that

YEMENEJIAN had produced pursuant to the grand jury subpoena.

However, S.B. also produced an “amendment” to the lease that

YEMENEJIAN had not produced.         The “amendment” was dated June

2019 and signed by S.B. and by YEMENEJIAN (his signature plainly

matched that of known exemplars).          The “amendment” stated that

it related to the lease “between [S.B.’s business] and Sarkis

Yemenejian dated August 30, 2018,” and that “lessee and lessor

her[e]by agree to cancel such lease[.]”            The “amendment” also

stated that YEMENEJIAN’s previously paid security deposit of

$30,472 was to be repaid, at YEMENEJIAN’s direction, to L.D.

(YEMENJIAN’s ex-wife).

     79.    I reviewed the CCU 8996 records and confirmed that

YEMENEJIAN had written S.B.’s company a deposit check of $30,472

out of proceeds of the Tiny Tots EIDL.

     80.    Based on my review of the TTCI EIDL records provided

by SBA, I learned that YEMENEJIAN paid nothing toward repayment

of the Tiny Tots EIDL and concealed from the SBA that Tiny Tots

never operated.

     K.    SUBJECT TERZYAN: Wire Fraud, False Claim, and Money
           Laundering re “Grub House” EIDL and EIDL Modification

     81.    In January 2021, an application was submitted to SBA

for a $150,000 EIDL on behalf of “Grub House, Inc.” (“Grub

House” or the “Grub House EIDL”).          TERZYAN 4 was identified on the


     4  In 2016, TERZYAN was convicted in this district of
conspiracy to possess 15 or more unauthorized access devices, in
                                   (footnote cont’d on next page)

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Grub House EIDL application by his true name, Social Security

number, and driver’s license number.

     82.     The application claimed that Grub House’s revenue for

the 12 months preceding January 31, 2020, was $433,441.

     83.     In March 2021, an individual identified as “Arsen

Terzyan owner/officer” e-signed the standard form EIDL “Loan

Authorization and Agreement” (“LA&A”) on behalf of Grub House.

Like that of substantially all other EIDL LA&As, the signer

promised that “[b]orrower will use all the proceeds of this Loan

solely as working capital to alleviate economic injury caused by

disaster occurring in the month of January 31, 2020 and

continuing thereafter[.]”

     84.      The Grub House EIDL application also identified a

JPMC account ending in 3502 (the “JPMC 3502”) as the bank

account into which EIDL proceeds should be wire-transferred.

     85.     On April 2, 2021, the Grub House EIDL proceeds of

$149,900 (net of fees) were wire transferred from the SBA to the

JPMC 3502.    I reviewed records for the JPMC 3502 and learned the

following:

             a.   The account was opened in October 2019.

             b.   The signature card/account application showed

that an individual identified as TERZYAN opened the account by

providing his true name and genuine Social Security and driver’s

license numbers.    The signature on the signature card/account

application matched that of TERZYAN’s driver’s license.


violation of 18 U.S.C. section 1029(b)(2) and sentenced to three
years in prison. United States v. Nazar Daniyelyan, et al., CR
15-621-GW.
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             c.      The balance in the account before the deposit of

the Grub House EIDL proceeds was $1,361.

      86.      Substantially all of the Grub House EIDL proceeds

were spent in 30 days as the balance in the JPMC 3502 at the end

of the statement period for the deposit (approximately April

2021) was $524.

      87.      I traced the use of the Grub House EIDL proceeds.               I

saw 17 checks totaling $102,070, each bearing a signature of

TERZYAN that matched that of his driver’s license, in amounts

consistent with structuring.            None appeared consistent with use

as working capital to alleviate damage caused by the Covid-19

pandemic, and at least one such payment was to TERZYAN’s sister-

in-law, SUBJECT MARIANNA:



 Date Range                     Amount              Payee
 April 2, 2021                  $8,500.00           Terzyan Personal Account
 April 2, 2021                  $9,892.00           Terzyan Personal Account
 April 1 – April 3, 2021        $50,000             No Limit Cargo
 April 6 – April 9, 2021        $17,700.00          A        Gi
 April 7, 2021                  $9,150.00           Home Energy Rating
 April 7, 2021                  $9,150.00           Hers Raters
 April 14, 2021                 $14,000.00          Marianna Sarkisyan


      88.      In April 2021, an application was made for a

modification to the Grub House EIDL to increase the total EIDL

to $500,000.

      89.      I know from my training and experience that the SBA

at that time commonly required that applicants submit tax

returns and/or provide the SBA with permission (via an IRS Form




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4506-T) to obtain directly from the IRS transcripts for the

applicant as well as the applicant’s tax returns.

     90.      The Grub House EIDL file contained an IRS Form 4506-T

bearing the electronic signature of TERZYAN.

     91.      I reviewed the transcripts that the SBA obtained for

federal income tax returns for the calendar years 2018 and 2019.

The transcripts showed that Grub House’s income tax returns for

those years were untimely, submitted on the same day in February

2021, and prepared by the same tax preparer, L.F., whom I know

from the evidence in this case was identified as the tax

preparer for several other targets including SHAW and

MIKHAELYAN.

     92.      The chronological activity section on the EIDL

application (“note” section) indicated that the SBA declined the

EIDL modification because Grub House’s tax returns were obtained

to qualify for the EIDL modification as opposed to submitted to

report genuine financial activity.

     L.    SUBJECT TERZYAN: Wire Fraud, False Claim, and Money
           Laundering re “Grub House” RRF

     93.      In May 2021, an application was submitted to the SBA

for an RRF on behalf of Grub House, Inc. (“Grub House” and the

“Grub House RRF”).      The “100%” owner was identified as TERZYAN,

and provided his residence address at 16719 Lahey St., Granada

Hills, CA, as Grub House’s business address.

     94.      I recently listened to a recording between a creditor

and TERZYAN that was made as part of that creditor’s

underwriting for a loan to TERZYAN.          During that recording,


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TERZYAN identified himself by providing the last four digits of

his (true) Social Security number that matched that on the Grub

House RRF application and the EIDLs described above.              He also

gave as his residence address and phone number the same

residence address and phone number shown on the Grub House RRF

application.   I therefore believe that TERZYAN made the

representations on and submitted the Grub House RRF application

and will refer to that application as such.

     95.    TERZYAN claimed on the Grub House RRF that Grub

House’s 2019 calendar year gross receipts were $1,423,441 and

that he expected to report $463,792 for gross receipts for Grub

House for 2020.

     96.    On the January 2021 EIDL application for Grub House

that TERZYAN submitted, as described above, TERZYAN claimed that

Grub House’s “Actual 2019 gross revenue” was exactly one million

dollars less than the amount now claimed on the Grub House RRF

application, or $423,441.

     97.    On the Grub House RRF application, TERZYAN identified

the JPMC 3502 as the business bank account into which proceeds

of the RRF should be wire-transferred (the same account into

which the Grub House EIDL proceeds were transferred).

     98.    TERZYAN represented on the Grub House RRF application

that RRF proceeds would be used solely for Grub House’s business

expenses such as payroll costs, rent, utilities, food and

beverage purchases, construction of outdoor seating, supplies,

and other operating expenses.



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     99.     TERZYAN further represented on that same application

that Grub House was at least 51 percent owned and controlled by

“[a] socially and economically disadvantaged individual[].”

     100.     On May 28, 2021, having approved the Grub House RRF

application, the SBA wire-transferred proceeds of $1,864,830 to

the JPMC 3502.

     101.     I reviewed records for the JPMC 3502 and learned the

following:

             a.   As stated above, I believe that TERZYAN opened

and controlled that account.

             b.   The balance in the account was $524 before the

RRF proceeds were credited on May 28, 2021.             As described above,

substantially all of the deposits to the account from April 2,

2021, to the date of deposit of the RRF proceeds came from the

Grub House EIDL proceeds.

             c.   Substantially all of the Grub House RRF proceeds

were paid out within about three months of the deposit of the

RRF proceeds.     Below is a chart that shows the date ranges,

amounts, and payees for the first six weeks of activity in the

JPMC 3502 following the RRF proceeds deposit, totaling

approximately $1.2 million:




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 Date Range                          Amount(s)        Payee
 June 4 – August 6, 2021             $286,084.00      Humboldt Wholesale (Hydroponics)
 June 8 – June 9, 2021               $219,804.79      Hawthorn Hydroponics
 May 28 – December 31, 2021          $160,000.00      Arsen Terzyan’s Personal Account
 July 13, 2021                       $40,000.00       Ikon Development (Koko Polosajian)
 July 13, 2021                       $60,000.00       Standard Home Lending (K
                                                      P         )
 July 21, 2021                       $50,000.00       M        L    J
 July 22 – August 11, 2021           $50,000.00       Pre-Packaging and Moving Service
 July 13, 2021                       $50,000.00       Aykem, LLC
 August 4, 2021                      $50,000.00       Woodland Shane Matthew
 June 21 – July 19, 2021             $14,000.00       Maria Sarkisyan
 July 16, 2021                       $13,671.31       Macy’s
 July 15, 2021                       $3,145.00        Express Restoration (Mikael Mikaelyan)


             d.     The first two line items refer to payments to

what I believe were marijuana cultivation supply businesses, one

of which (Humboldt Wholesale) was the same such business to

which SUBJECT SHAW paid out of PPPL proceeds as described above.

SUBJECT MARIANNA received $14,000.

      102.      RRF recipients were required to certify that RRF

proceeds were used in compliance with RRF rules.                    Such

compliance was required via a “post-award report.”

      103.      Acknowledging on the post-award report that “[a]ny
false statement or misrepresentation to SBA may result in
criminal, civil or administrative sanctions including, but not
limited to: 1) fines and imprisonment[,]” an individual
identified as TERZYAN electronically signed and submitted that
report in December 2021 and represented that all of the Grub
House RRF proceeds were used for Grub House business expenses,
as follows:




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Amount                      Eligible Categories
$ 317,204.00                Payroll (including paid sick leave)
$ 94,563.00                 Rent / Mortgage
$ 31,202.00                 Utilities
$ 87,750.00                 Debt Service
$ 45,673.00                 Construction of Outdoor Seating
$ 16,185.00                 Maintenance
$ 16,831.00                 Supplies
$ 928,686.00                Food and Beverage (including raw materials)
$ 48,874.00                 Covered Supplier Costs
$ 277,862.04                Business Operating Expenses
$ 1,864,830.04              TOTAL


     104.        EDD records show that Grub House’s payroll

commenced during the third quarter of 2019 and that it

maintained five employees through the first quarter of 2020.

Grub House maintained one employee from Q2 2020 to Q4 2020.

There was no EDD record of payroll during calendar year 2021.

Grub House’s EDD account ceased on March 31, 2022.

     105.        Based on my review of the JPMC 3502, I have probable

cause to believe that TERZIAN at least fraudulently misused and

misrepresented on the RRF post-award report payments of $317,204

as payroll expenses, if not in excess of $600,000 more to

marijuana cultivation suppliers that he fraudulently

mischaracterized as other purported business-related expenses.




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     M.      SUBJECT MARIANNA: Wire Fraud, False Claim, and Money
             Laundering re “Rustwood” EIDL

     106.     On May 30, 2020, an EIDL was submitted on behalf of

a shell called “Rustwood Enterprises, Inc.” (“Rustwood”) for

$150,000.    MARIANNA was identified as the contact person by her

true name, Social Security number, date of birth, and residence

address (the same address as SHAW).           The application identified

MARIANNA as the owner of Rustwood and stated that Rustwood had

2019 calendar year gross revenue of $1.6 million and 14

employees.    The application identified a California Credit Union

(“CCU”) account ending in 7905 (the “CCU 7905”) as the account

to which the EIDL proceeds should be wire-transferred/deposited.

     107.     EDD records and IRS Fact of Filing information

showed that Rustwood did not have any employees for the period

covered by the EIDL application.

     108.     On May 30, 2020, an individual identified as

MARIANNA electronically signed the LA&A and, like that of

substantially all other EIDL LA&As, the signer promised that

“[b]orrower will use all the proceeds of this Loan solely as

working capital to alleviate economic injury caused by disaster

occurring in the month of January 31, 2020 and continuing

thereafter[.]”

     109.     I reviewed the records for CCU 7905 and learned the

following:

             a.     The signature card/account application was signed

on April 1, 2020, or about two months before the Rustwood EIDL

was sought.       It contained MARIANNA’s true name, Social Security


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number, and driver’s license number, each of which matched that

on the Rustwood EIDL application. 5         I compared the signature on

the signature card with that of MARIANNA’s driver’s license and

believe the signatures were written by one and the same person:

MARIANNA.   The signature card stated that Rustwood was involved

in “landscape design.”

            b.   There was minimal activity in the CCU 7905 for

the months of April and May 2020, such as a transfer from

another account in the name of MARIANNA for $500 to open the

account and a withdrawal at a Walgreen’s store in Van Nuys

(which I know was in the vicinity of MARIANNA’s residence).                For

May 2020, there were approximately $300 in what appeared to be

personal expenses (e.g., “Tigranakert Meat Marke[t]” in Van

Nuys).

            c.   The EIDL proceeds of $149,900 (less $100 fees)

were deposited on June 29, 2020, followed by the deposit of an

EIDL advance of $10,000 on July 7, 2020.            (I know from my

training and experience that the SBA commonly paid EIDL

applicants an advance of $1,000 for every claimed employee, up

to $10,000, to hold them over until EIDL proceeds were paid;

this situation was slightly different as the advance was paid

after the proceeds.)

            d.   There was no significant activity in the account

until October, when approximately $100,000 – substantially, if


     5  The signature card contained MARIANNA’s prior residence
address that MARIANNA verified in mid-2021 in connection with
seeking an increase/modification of the Rustwood EIDL, as
discussed below.
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not solely, EIDL proceeds – was withdrawn in the form of checks

or electronic transfers.          Below is a summary of the payments

that show use of the EIDL proceeds, none of which is consistent

with the operation of a “landscape design” business or with

payment of payroll:



 Date Range                        Amount(s)       Payees
 October 1 – October 3, 2020       $46,495.00      Express Restoration (Mikael Mikaelyan)
 October 6, 2020                   $18,500.00      M      K
 October 16 – December 16, 2020    $26,565.00      A         G
 October 19, 2020                  $17,860.00      Macy’s Online Payment
 November 4, 2020                  $15,122.00      Ranchito Investments
 November 25, 2020                 $3,190.00       Body Design Rejuvenation
 December 4, 2020                  $5,800.0        Cornwall Group (Mikael Mikaelyan)
 December 4 – January 6, 2021      $22,634.00      Toluca Commercial, Inc.
 December 5, 2020                  $15,000.00      American Mobile Power Solution
 December 11, 2020                 $7,000.00       Maria Sarkisyan
 December 17, 2020                 $17,901.60      First Bank
 January 4, 2021                   $49,200.00      Best Tudor


     110.      In April 2021, MARIANNA applied for a modification

to increase the Rustwood EIDL to $500,000.                The SBA “note”

summary for this application described a detailed conversation

between an SBA representative and MARIANNA, the relevant parts

of which are summarized as follows:

            a.     The representative (identified as the “LO” (loan

officer)) stated that the LO “called and spoke w/Marianna

Sarkisyan @ 818-747-5007.”         That was the same number that was

provided on the Rustwood EIDL in 2020.

            b.     The LO “asked applicant PII questions to verify

information from the initial EIDL, including “date business

established, verified home & business address, verified business


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entity—stated C corp-business Agriculture.”             I know from my

training and experience that SBA loan officers commonly verified

applicant’s personal identifying information from EIDL

applications in connection with vetting modification requests.

            c.    The LO also verified MARIANNA’s identity by

confirming that MARIANNA had received a bankruptcy discharge in

August 2019 and previously lived at the same address that

MARIANNA had provided when she opened the CCU 7906.

            d.    In response to the LO’s question about why the

EIDL application stated $1.6 million in gross revenue for 2019

“versus the 2019 [$570,338 in gross revenue] reported on [a tax

transcript that was provided pursuant to a tax information

release form signed by MARIANNA],” MARIANNA explained the more

than $1 million discrepancy by stating that “she completed the

[EIDL] application without her tax accountant.”

            e.    The LO explained that the variance was too great

to approve the modification and that “applicant stated she

understood.”

     N.     SUBJECT MARIANNA: Wire Fraud and False Claim re
            Personal EIDL

     111.      SBA records show that, on July 13, 2020, fewer than

two months after MARIANNA applied for the Rustwood EIDL, an

online application was submitted for a $150,000 EIDL for

“Marianna Sarkisyan” as a “Sole-Proprietorship” (the “MARIANNA

EIDL”).   The MARIANNA EIDL application contained not only

MARIANNA’s true name but her true Social Security number and the

same residence address she had provided when she applied for the



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Rustwood EIDL in May 2020.      The application claimed that

MARIANNA was in the business of “property management/realty” and

also stated that MARIANNA’s “gross revenues for the twelve

months prior to [] January 31, 2020” was $357,000,” but

mentioned nothing about her association with, or any income

derived from, Rustwood.     The MARIANNA EIDL application

identified a California Credit Union account ending in 0956 (the

“CCU 0956”) to which EIDL proceeds should be wire-transferred.

     112.     The MARIANNA EIDL was approved and funded in the

amount of $150,000 in August 2020.          In July 2021, an application

was submitted online to modify the MARIANNA EIDL by increasing

it to $500,000 (a net increase of $350,000).             An LA&A for this

modification was e-signed by “Marianna Sarkisyan” on July 26,

2021 and, similar to other EIDL requirements at that time, the

applicant agreed that “[applicant] will use all the proceeds of

this Loan solely as working capital to alleviate economic injury

caused by disaster occurring in the month of January 31, 2020

and continuing thereafter[.]”

     113.     I reviewed records of the CCU 0956 and learned the

following:

             a.   The account was opened in 2013.          The signature

card/account application identified the account holder as

MARIANNA based on her true date of birth, Social Security

number, and driver’s license number.           The signature on the card

matches that of her driver’s license and the numerous checks on

accounts associated with her that I have seen during this

investigation.

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            b.     The proceeds of the MARIANNA EIDL modification

were deposited into the CCU 0956 on July 30, 2021.

            c.     The beginning balance in that account (as of July

1, 2021) was $8,234.      For the several months preceding that

date, the account appeared to be largely used for personal

expenses (e.g., substantial Amazon and Postmates payments,

recurrent $1,820 Chase Auto Lease payments).

            d.     The bulk of the EIDL proceeds were used for a

variety of expenses not associated with “working capital” for a
business including the same substantial Amazon payments,

recurrent Chase Auto Lease payments, $8,298 in Aeroflot plane

tickets, $55,000 to Rustwood, $15,000 to Pacific BMW, $4,862 to

Louis Vuitton, $24,000 to Mercedes Benz of Beverly Hills, and

$2,090 to Monolo Blahnik Intl London (high-end shoes).

                              V. CONCLUSION

     114.        For all the reasons described above, there is

probable cause to believe that SARKIS SARKISYAN, AKA SAMUEL

SHAW; MIKHAEL MIKHAELYAN; ARSEN TERZYAN, AKA STEVEN TERZAKI; and

MARIANNA SARKISYAN committed the Subject Offenses.


Attested to by the applicant in
accordance with the requirements
of Fed. R. Crim. P. 4.1
by telephone on this BBBBB
                      UG day of
May, 2025.



HONORABLE 3$75,&,$'21$+8(
          3$75,&,$ '21$+8(
UNITED STATES MAGISTRATE JUDGE




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